Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 1 of 89 PageID #:7




        EXHIBIT 1
               Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 2 of 89 PageID #:8




C/J
 csc                                                                                                                     null / ALL
                                                                                                     Transmittal Number: 22674097
Notice of Service of Process                                                                            Date Processed: 01/28/2021

Primary Contact:           Frank Rossotto
                           Frank Rossotto
                           184 E Main St
                           Westfield, NY 14787-1133

Entity:                                       The Stocktrek Corporation
                                              Entity ID Number 1833426
Entity Served:                                The Stocktrek Corporation
Title of Action:                              Nicholas Giovannelli vs. Walmart, Inc.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Cook County Circuit Court, IL
Case/Reference No:                            2021IL000144
Jurisdiction Served:                          Delaware
Date Served on TCC:                           01/26/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Craig D. Tobin
                                              312-641-1321

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                     To avoid potential delay, please do not send your response to The Company Corporation
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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             Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 3 of 89 PageID #:9



                                                                                                             FILED
                                                                                                             1/8/2021 12:34 PM
                                                                                                             IRIS Y. MARTINEZ
                                                                                                             CIRCUIT CLERK
                                                                                                             COOK COUNTY, IL
                                                                                                             2021L000144

                                                                                                             11757289
          2120 - Served                    2121 - Served              2620 - Sec. of State
          2220 - Not Served                2221 - Not Served          2621 -Alias Sec of State
          2320 - Served By Mail            2321 - Served By Mail
          2420 - Served By Publication     2421 - Served By Publication
          Summons - Alias Summons                                                  (12/01/20) CCG 0001 A


                               IN THE ~IRCUIT COURT OF COOK COUNTY, ILLINOIS

          Name all Parties



          Nicholas Giovannelli
                                                   Plain tiff(s)
                                  V.
          Walmart, Inc., Wal-mart.Com USA, LLC,                    Case No.              2020 L 000144                  ··-....)


          The Stocktrek Corporation d/b/aStocktrek Images,
          Inc., Pixels.com.Amazon.Com, Inc., Amazon.Com
          Services, LLC, and Posterazzi Corp.
                                                 Defendant(s)                                                                      ,.I
          Th.e_S_to_Gk~goratiOIJ~.
          clo TneCompany Corporation
          251 Little Falls Drive
          Wilmington, DE 19808
                                  Address of Defendant(s)
                                                                                                                   CJ
          Please serve as follows (check one):    () Certified Mail       r;,   Sheriff Service   () Alias
                                                         SUMMONS
          To each Defendant:
          You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
          You are summoned and required to file your appearance, in the office of the clerk of this court,
          within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
          judgment by default may be entered against you for the relief asked in the complaint.
                             THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
          To file your written appearance/ answer YOU DO NOT NEED TO COME TO THE
          COURTHOUSE. You will need: a computer with internet access; an email address; a completed
          Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
          appearance.asp; and a credit card to pay any required fees.




                        Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                             cookcountyclerkofcourt.org
                                                            Page 1 of 3
                    Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 4 of 89 PageID #:10


        Summons - Alias Summons                                                                               (12/01/20) CCG 0001 B

        E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
        service provider. Visithttp://efile.illinoiscourts.gov/ service-providers.hem to learn more and to select a service
        provider.
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        If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/ fag/ gethelp.asp or talk with
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        your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
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N       person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
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        If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
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'Sf"    yourself in a court case Qncluding filing an appearance or fee waiver), or to apply for free legal help, go to www.
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,;..;   illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
        Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
        date AND for information whether your hearing will be held by video conference or by telephone. The Clerk's
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        office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
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        NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
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....J         appearance by. You may file your appearance form by efiling unless you are exempted .
u:::
        A court date will be set in the future and you will be notified by email (either to the email address that you used to
        register for efiling, or that you provided to the clerk's office).
        CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
        cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
        appropriate clerk's office location listed on Page 3.
        To the officer: (Sheriff Service)
        This summons must be returned by the officer or other person to whom it was given for service, with endorsement
        of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
        endorsed. This summons may not be served later than thirty (30) days after its date.




        ~ Atty. No.: _4_7_2_7_6_ _ __                                   Witness date _________________
           Pro Se 99500
                                                                                             1/8/2021 12:34 PM IRIS Y. MARTINEZ
        Name:       Craig D. Tobin
        Atty. for (if applicable):                                                  IRIS Y. MARTINEZ, Clerk of Court

         Tobin & Munoz, L.L.C.                                          □
        Address:     70 W. Madison St., Suite 1950                      D Date of Servic
                                                                            (To be inserted by of   ..__ _.      employer or other person)
        City:    Chicago

        State: IL       Zip:    60602

        Telephone: (312) 641-1321

        Primary Email:         ctobin@barristers.com

                                 Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                      cookcountyclerkofcourt.org
                                                                  Page 2 of 3
                Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 5 of 89 PageID #:11



                              GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

       CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
       appropriate division, district or department to request your next court date. Email your case number, or, if you do
::g:   not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
8      and birthdate for a criminal case.
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                   CHANCERY DIVISION                                         ALL SUBURBAN CASE TYPES
       Court date EMAIL: ChanCourtDatc@cookcountycourt.com                       DISTRICT 2 - SKOKIE
       Gen. Info: (312) 603-5133                                    Court date EMAIL: D2CourtDate@cookcountycourt.com
                       CIVIL DIVISION                               Gen. Info: (847) 470-7250
       Court date EMAIL: CivCourtDate@cookcountycourt.com                 DISTRICT 3 - ROLLING MEADOWS
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<(     Gen. Info: (312) 603-5116                                    Court date EMAIL: D3CourtDate@cookcountycourt.com
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w                    COUNTY DIVISION                                Gen. Info: (847) 818-3000
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       Court date EMAIL: CntyCourtDate@cookcountycourr.com                      DISTRICT 4 - MAYWOOD
       Gen. Info: (312) 603-5710                                    Court date EMAIL: D4CourtDate@cookcountycourt.com
        DOMESTIC RELATIONS/CHILD SUPPORT                            Gen. Info: (708) 865-6040
                         DIVISION                                             DISTRICT 5 - BRIDGEVIEW
       Court date EMAIL: DRCourtDate@cookcounrycourt.com            Court date EMAIL: DSCourtDate@cookcoumycourt.com
                         OR
                                                                    Gen. Info: (708) 974-6500
                         ChildSupCourtDate@cookcountycourt.com
       Gen. Info:   (312) 603-6300                                               DISTRICT 6 - MARKHAM

                   DOMESTIC VIOLENCE                                Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                    Gen. Info:  (708) 232-4551
       Court date EMAIL: DVCourtDate@cookcountycourt.com
       Gen. Info: (312) 325-9500

                        LAW DIVISION
       Court date EMAIL: LawCourtDate@cookcountycourc.com
       Gen. Info: (312) 603-5426

                    PROBATE DIVISION
       Court date EMAIL: ProbCourtDate@cookcouncycourt.com
       Gen. Info: (312) 603-6441




                            Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                 cookcountyclerkofcourt.org
                                                             Page 3 of 3
         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 6 of 89 PageID #:12
                                               12-Person Jury


                                                                                            FILED
                                                                                            1/6/2021 12:25 PM
                              IN THE CIRCUIT COURT OF COOK COUNTY                           IRIS Y. MARTINEZ
                                COUNTY DEPARTMENT, LAW DIVISION                             CIRCUIT CLERK
                                                                                            COOK COUNTY, IL
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~             NICHOLAS GIOV ANNELLI,
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                                            Plaintiff,
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Lt)
~                                    V.                                         No.:
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              WALMART, INC., WAL-MART.COM USA, LLC,
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              THE STOCKTREK CORPORATION d/b/a
              STOCKTREK IMAGES, INC., PIXELS.COM, LLC,
                                                                            I
~             AMAZON.COM, INC., AMAZON.COM SERVICES,
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u:::
              LLC, and POSTERAZZI CORP.
                                            Defendants.
                                                                           jmRY DEMANDED



                                           COMPLAINT AT LAW

              Now comes the plaintiff, Nicholas Giovannelli, by and through his attorneys, Craig D.

       Tobin of Tobin & Munoz LLC, and as and for his complaint against defendants Walmart, Inc.,

       Wal-Mart.Com USA, LLC, The Stocktrek Corporation d/b/a StockTrek Images, Inc.,

       Pixels.Com, LLC, Amazon.Com, Inc., Amazon.Com Services, LLC, and Posterazzi Corp. states

       as follows:

              1.      This action is brought under the Illinois Right of Publicity Act, 765 ILCS 1075/1
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       et seq. (1999), and the common law action for Negligent Infliction of Emotional Distress. ,
                                                                                                      .,-_.



                                                   PARTIES
                                                                                                               ·-71
              2.     At all relevant times hereto, the plaintiff, Nicholas Giovannelli, was aiiif is a · ..,_;

       citizen of Cook County, Illinois. Giovannelli is a decorated combat veteran, having serveiin the
                                                                                                  0

       Airborne Infantry of the U.S Army, beginning in 2007, including multiple tours of duty in

       Afghanistan. He was honorably discharged for medical reasons in 2015.
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              3.      WalMaxt, Inc., at all relevant times hereto, is a Delaware corporation present and

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'<t    doing business in Cook County, Illinois.     WalMa1t, Inc. is in the business of selling general
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       merchandise through their stores, including photographic images.
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              4.      Wal-Mart.com USA, LLC, at all relevant times hereto, is a California limited

       liability company present and doing business in Cook County, Illinois. Wal-Mart.com USA,

       LLC is in the business of selling general merchandise through the internet, including
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       photographic images.
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U::           5.      The StockTrek Corporation d/b/a StockTrek Images, Inc., at all relevant times

       hereto, is a Delaware corporation present and doing business in Cook County, Illinois.

       StockTrek is in the business of selling photographic images, primarily through the internet.

              6.      Pixels.com, LLC, at all relevant times hereto, is an Illinois limited liability

       company, present and doing business in Cook County, Illinois. Pixels.com is in the business of

       selling photographic images, primarily through the internet.

              7.      Amazon.Com, Inc., at all relevant times hereto, is a Delaware corporation present

       and doing business in Cook County, Illinois. Amazon.com, Inc. is in the business of selling

       general merchandise through the internet, including photographic images.

              8.      Amazon.Com Services, LLC, at all relevant times hereto, is a Delaware limited

       liability company, present and doing business in Cook County, Illinois. Amazon.Com Services,

       LLC is in the business of selling general merchandise through the internet, including

       photographic images.

              9.      Posterazzi Corp., at all relevant times hereto, is a New York corporation, present

       and doing business in Cook County, Illinois.        Posterazzi Corp. is in the business of selling

       photographic images, primarily through the internet.




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                                    FACTS COMMON TO ALL COUNTS

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               10.    During his service in the Airborne Infantry, Giovannelli participated in over I 00
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       combat patrols. As a result of his service, Giovannelli was awarded the Purple Heart, Combat
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       Infantry Badge, and Army Commendation with V Device, for acts of heroism while involved in

       conflict with an armed enemy.

               11.    As a result of his service, Giovannelli developed certain medical issues: herniated
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~      disks in his lower back and neck, post-concussion headaches as a result of traumatic brain injury,
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u::    and PTSD. As a result of these conditions, Giovannelli was given a medical retirement in 2015.

       Giovannelli continues to be treated for these conditions.

               12.    While Giovannelli was serving in the military, he was photographed by Army

       photographers while in combat.

               13.    Recently, Giovannelli discovered that photographs taken of him while m the

       military were being publicly sold, for commercial purposes, through for-profit entities.

               14.    Giovannelli has never given consent to any of the defendants to use his image for

       any purpose, including financial gain.

                                                COUNT I-Walmart. Inc.

               15.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set fo1th

       here.

               16.    During 2020 and, upon information and belief, earlier than 2020, WalMart, Inc.,

       at its stores throughout the country and online, without Giovannelli's consent, sold posters which

       bore an image of Giovannelli in combat.

               17.    WalMart, Inc. profited financially from the sale of Giovannelli's image.




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                18.    At all relevant times, WalMart, Inc. knew that it lacked consent from Giovannelli

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'St    to commercially exploit his image.      WalMart, Inc.'s actions were willful and malicious, and
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~      punitive damages are appropriate.
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                19.    As a result of WalMart, Inc.'s actions, Giovannelli has suffered extreme

       emotional distress.     As a result of WalMart, Inc.'s actions, Giovannelli's PTSD has been
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12     exacerbated.
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                WHEREFORE, plaintiff prays for the following relief from Wal-Mart, Inc.:
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u::             A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

                B.     That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to plaintiff;

                C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

                D.     An award of plaintiffs reasonable attorney's fees, costs and expenses as

       permitted by 75 ILCS 1075/55.

                E.    For such other relief as this court deems just.

                                        COUNT II-Wal-Mart.Com USA, LLC

                20.   Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set fo11h

       here.

                21.   During 2020 and, upon information and belief, earlier than 2020, Wal-Mart.com

       USA, LLC, at its stores throughout the country and online, without Giovannelli's consent, sold

       posters which bore an image of Giovannelli in combat.

                22.   Wal-Mart.com USA, LLC profited financially from the sale of Giovannelli's

       image.




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                 23.   At all relevant times, Wal-Mart.com USA, LLC knew that it lacked consent from

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'<I"   Giovannelli to commercially exploit his image. Wal-Mart.com USA, LLC's actions were willful
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~      and malicious, and punitive damages are appropriate.
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               24.     As a result of Wal-Mart.com USA, LLC's actions, Giovannelli has suffered

       extreme emotional distress. As a result of Wal-Mart.com USA, LLC's actions, Giovannelli's

       PTSD has been exacerbated.
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~              WHEREFORE, plaintiff prays for the following relief from Wal-Mart.com USA, LLC:
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U:::           A.      Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

               B.      That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to plaintiff;

               C.      An award of punitive damages as permitted by 75 ILCS 1075/40;

               D.      An award of plaintiffs reasonable attorney's fees, costs and expenses as

       permitted by 75 ILCS 1075/55.

               E.      For such other relief as this court deems just.

                        COUNT III- The StockTrek Corporation d/b/a StockTrek Images, Inc.

               25.     Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

               26.     StockTrek Images, Inc., during 2020 and, upon information and belief, earlier

       than 2020, without Giovannelli's consent, sold posters which bore an image of Giovannelli in

       combat.

               27.     StockTrek Images, Inc. profited financially from the sale of Giovannelli's image.




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                28.    At all relevant times, StockTrek Images, Inc. knew that it lacked consent from

::i:    Giovannelli to commercially exploit his image. StockTrek Images, Inc.'s actions were willful
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~       and malicious, and punitive damages are appropriate .
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                29.    As a result of StockTrek Images, Inc.'s actions, Giovannelli has suffered extreme

        emotional distress. As a result of StockTrek Images, Inc.' s actions, Giovannell i's PTSD has

        been exacerbated.
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~               WHEREFORE, plaintiff prays for the following relief from StockTrek Images, Inc.:
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LL              A.     Damages in an amount in excess of One Million Dollars for emotional distress

        and exacerbation of plaintiffs PTSD;

                B.      That all profits procured through the sale of plaintiff's image be disgorged and

        awarded to the plaintiff;

                C.     An award of punitive damages as permitted by 75 ILCS I 075/40;

                D.     An award of plaintiff's reasonable attorney's fees, costs, and expenses as

        permitted by 75 ILCS I 075/55.

                E.     For such other relief as this court deems just.

                                             COUNT IV-Pixels.Com, LLC

                30.    Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

        here.

                31.    Pixels.Com, LLC, during 2020 and, upon information and belief, earlier than

        2020, without Giovannelli's consent, sold posters which bore an image of Giovannelli in combat.

                32.    Pixels.Com, LLC profited financially from the sale of Giovannelli's image.




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               33.    At all relevant times, Pixels.Com, LLC knew that it lacked consent from

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'<I"   Giovannelli to commercially exploit his image.        Pixel.com, LLC's actions were willful and
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~      malicious, and punitive damages are appropriate.
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               34.    As a result of Pixels.Com, LLC's actions, Giovannelli has suffered extreme

       emotional distress.   As a result of Pixels.Com, LLC's actions, Giovannelli's PTSD has been

       exacerbated.
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~              WHEREFORE, plaintiff prays for the following relief from Pixel's.Com, LLC:
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u:::           A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

               B.      That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to the plaintiff;

               C.     An award of punitive damages as permitted by 75 ILCS I 075/40;

               D.     An award of plaintiffs reasonable attorney's fees, costs, and expenses as

       permitted by 75 ILCS I 075/55.

               E.     For such other relief as this court deems just.

                                             COUNT V-Posterazzi Corp.

               35.    Plaintiff incorporates by reference paragraphs I through 14 as if fully set fo1th

       here.

               36.    Posterazzi Corp., during 2020 and, upon information and belief, earlier than 2020,

       without Giovannelli's consent, sold posters which bore an image of Giovannelli in combat.

       During this time period, Posterazzi Corp. sold posters which not only bore Giovannelli's image

       but also identified him by name and rank.

               37.    Posterazzi Corp. profited financially from the sale of Giovannelli's image.




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               38.    At all relevant times, Posterazzi Corp. knew that it lacked consent from

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       Giovannelli to commercially exploit his image.       Posterazzi Corp.'s actions were willful and
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~      malicious, and punitive damages are appropriate.
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               39.    As a result of Posterazzi Corp.'s actions, Giovannelli has suffered extreme
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       emotional distress.   As a result of Posterazzi Corp.'s actions, Giovannelli's PTSD has been

       exacerbated.
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~              WHEREFORE, plaintiff prays for the following relief from Posterazzi Corp.:
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U:::           A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

               B.      That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to the plaintiff;

               C.     An award of punitive damages as permitted by 75 ILCS I 075/40;

               D.     An award of plaintiffs reasonable attorney's fees, costs, and expenses as

       permitted by 75 ILCS 1075/55.

               E.     For such other relief as this court deems just.

                                            COUNT VI-Amazon.Com, Inc.

               40.    Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

       here.

               41.    Amazon.Com, Inc., during 2020 and, upon information and belief, earlier than

       2020, without Giovannelli's consent, sold posters which bore an image of Giovannelli in combat.

               42.    Amazon.Com, Inc. profited financially from the sale of Giovannelli's image.




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                43.   At all relevant times, Amazon.Com, Inc. knew that it lacked consent from

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"<t    Giovannelli to commercially exploit his image. Amazon.Com, Inc.'s actions were willful and
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~      malicious, and punitive damages are appropriate .
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2               44.   As a result of Amazon.Com, Inc.'s actions, Giovannelli has suffered extreme
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N      emotional distress. As a result of Amazon.Com, Inc.'s actions, Giovannelli's PTSD has been
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~      exacerbated.
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~               WHEREFORE, plaintiff prays for the following relief from Amazon.Com, Inc.:
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u::             A.    Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

                B.     That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to the plaintiff;

                C.    An award of punitive damages as permitted by 75 ILCS 1075/40;

                D.    An award of plaintiffs reasonable attorney's fees, costs and expenses as

       permitted by 75 ILCS 1075/55.

                E.    For such other relief as this court deems just.

                                      COUNT VII-Amazon.Com Services. LLC

                45.   Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

                46.   Amazon.Com Services, LLC, during 2020 and, upon information and belief,

       earlier than 2020, without Giovannelli's consent, sold posters which bore an image of

       Giovannelli in combat.

                47.   Amazon.Com Services, LLC profited financially from the sale of Giovannelli's

       image.




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 15 of 89 PageID #:21




                48.    At all relevant times, Amazon.Com Services, LLC, knew that it lacked consent

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"St    from Giovannelli to commercially exploit his image. Amazon.Com Services, LLC's actions
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~      were willful and malicious, and punitive damages are appropriate.
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                49.    As a result of Amazon.Com Services, LLC's actions, Giovannelli has suffered
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N      extreme emotional distress. As a result of Amazon.Com Services, LLC's actions, Giovannelli's

       PTSD has been exacerbated.
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~               WHEREFORE, plaintiff prays for the following relief from Amazon.Com Services,
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u:::   LLC's:

                A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

                B.     That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to the plaintiff;

                C.     An award of punitive damages as permitted by 75 ILCS I 075/40;

                D.     An award of plaintiffs reasonable attorney's fees, costs and expenses as

       permitted by 75 ILCS I 075/55.

                E.     For such other relief as this court deems just.

                                          COUNT VIII-WalMait, Inc.--NIES

                50.    Plaintiff incorporates by reference paragraphs I through 14 as if fully set f01th

       here.

                51.    WalMait, Inc. owed a duty to Giovannelli under Illinois law not to publicize

       and/or sell his image for profit without first procuring his written consent as required by 765

       ILCS 1075/30.




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 16 of 89 PageID #:22




               52.     WalMart, Inc. breached its duty to Giovannelli when it negligently failed to take

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       necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to
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       offering for sale and selling plaintiff's image all across the country.
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               53.     WalMart, Inc's breach of duty directly and proximately caused plaintiff to suffer

       extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiff's PTSD.

       As a result of plaintiffs emotional distress, he is under a doctor's care and taking medication.
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~              WHEREFORE, plaintiff prays for judgment in his favor and against defendant WalMart,
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u:::   Inc. in an amount in excess of One Million Dollars ($100,000,000.00), plus costs.

                                     COUNT IX-Wal-Mart.Com USA, LLC--NIES

               54.     Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

               55.     Wal-Mai1.Com USA, LLC owed a duty to Giovannelli under Illinois law not to

       publicize and/or sell his image for profit without first procuring his written consent as required

       by 765 ILCS 1075/30.

               56.     Wal-Mart.Com USA, LLC breached its duty to Giovannelli when it negligently

       failed to take necessary steps to procure his written consent, as required by 765 ILCS 1075/30,

       prior to offering for sale and selling plaintiff's image all across the country.

               57.     Wal-Mart.Com USA, LLC's breach of duty directly and proximately caused

       plaintiff to suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of

       plaintiff's PTSD. As a result of plaintiff's emotional distress, he is under a doctor's care and

       taking medication.




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        Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 17 of 89 PageID #:23




                WHEREFORE, plaintiff prays for judgment in his favor and against defendant Wal-

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'<I"   Mart.Com USA, LLC in an amount in excess of One Million Dollars ($100,000,000.00), plus
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                                       COUNT X-StockTrek Images, Inc.--NIES
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~               58.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth
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U::    here.

                59.    StockTrek Images, Inc. owed a duty to Giovannelli under Illinois law not to

       publicize and/or sell his image for profit without first procuring his written consent as required

       by 765 ILCS 1075/30.

                60.    StockTrek Images, Inc. breached its duty to Giovannelli when it negligently failed

       to take necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to

       offering for sale and selling plaintiff's image all across the country.

                61.    StockTrek Images, Inc.'s breach of duty directly and proximately caused plaintiff

       to suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of

       plaintiff's PTSD. As a result of plaintiff's emotional distress he is under a doctor's care and

       taking medication.

                WHEREFORE, plaintiff prays for judgment in his favor and against defendant StockTrek

       in an amount in excess of One Million Dollars ($ I ,000,000.00), plus costs.

                                         COUNT XI-Pixels.Com, LLC--NIES

                62.   Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 18 of 89 PageID #:24




               63.      Pixels.Com, LLC owed a duty to Giovannelli under Illinois law not to publicize

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       and/or sell his image for profit without first procuring his written consent as required by 765
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               64.      Pixels.Com, LLC breached its duty to Giovannelli when it negligently failed to

       take necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to

       offering for sale and selling plaintiffs image all across the country.
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               65.      Pixels.Com, LLC's breach of duty directly and proximately caused plaintiff to
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u:::   suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiffs

       PTSD.    As a result of plaintiffs emotional distress, he is under a doctor's care and taking

       medication.

               WHEREFORE, plaintiff prays for judgment in his favor and against defendant

       Pixels.Com, LLC in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                                        COUNT XII-Amazon.Com, Inc.--NIES

               66.      Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

       here.

               67.      Amazon.Com, Inc. owed a duty to Giovannelli under Illinois law not to publicize

       and/or sell his image for profit without first procuring his written consent as required by 765

       ILCS I 075/30.

               68.      Amazon.Com, Inc. breached its duty to Giovannelli when it negligently failed to

       take necessary steps to procure his written consent, as required by 765 ILCS I 075/30, prior to

       offering for sale and selling plaintiffs image all across the country.

               69.      Amazon.Com, Inc. 's breach of duty directly and proximately caused plaintiff to

       suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiffs




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 19 of 89 PageID #:25




       PTSD.    As a result of plaintiffs emotional distress, he 1s under a doctor's care and taking

~      medication.
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~              WHEREFORE, plaintiff prays for judgment in his favor and against defendant
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       Amazon.Com, Inc. in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                                   COUNT XIII-Amazon.Com Services, LLC--NIES

               70.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth
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u::            71.    Amazon.Com Services, LLC owed a duty to Giovannelli under Illinois law not to

       publicize and/or sell his image for profit without first procuring his written consent as required

       by 765 ILCS 1075/30.

               72.    Amazon.Com Services, LLC breached its duty to Giovannelli when it negligently

       failed to take necessary steps to procure his written consent, as required by 765 ILCS 1075/30,

       prior to offering for sale and selling plaintiffs image all across the country.

               73.    Amazon.Com Services, LLC's breach of duty directly and proximately caused

       plaintiff to suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of

       plaintiffs PTSD. As a result of plaintiffs emotional distress, he is under a doctor's care and

       taking medication.

               WHEREFORE, plaintiff prays for judgment in his favor and against defendant

       Amazon.Com Services, LLC in an amount in excess of One Million Dollars ($1,000,000.00),

       plus costs.

                                         COUNT XIV-Posterazzi Corp.--NIES

               74.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 20 of 89 PageID #:26




               75.     Posterazzi Crop. owed a duty to Giovannelli under Illinois law not to publicize

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       and/or sell his image for profit without first procuring his written consent as required by 765
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       ILCS 1075/30.
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               76.     Posterazzi Corp. breached its duty to Giovannelli when it negligently failed to

       take necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to

       offering for sale and selling plaintiffs image all across the country.
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~              77.     Posterazzi Corp.'s breach of duty directly and proximately caused plaintiff to
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u:::   suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiffs

       PTSD.    As a result of plaintiffs emotional distress, he is under a doctor's care and taking

       medication.

               WHEREFORE, plaintiff prays for judgment in his favor and against defendant Posterazzi

       Corp.' s in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                       Plaintiff demands trial by jury on all counts.

                                                                        s/ Craig D. Tobin
                                                                        Craig D. Tobin
                                                                        One of Plaintiffs attorneys

       Craig D. Tobin
       Jessica Firlej
       Attorneys for Plaintiff
       Tobin & Munoz, L.L.C.
       70 W Madison Street, Suite 1950
       Chicago, IL 60602-4298
       Office: (312) 641-1321
       Fax: (312) 641-5220
       Email: ctobin@barristers.com
                jfirlej@barristers.com
       Attorney No.: 47276




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                      Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 21 of 89 PageID #:27

         1910 - No Fee Paid
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         Jury Demand                                                                            (Rev. 12/01/20) CCG 0067

                                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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                                ___C_o_u_n---'-ty____ DEPARTMENT/_ _1_s_t_ _ DISTRICT
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          Nicholas Giovannelli

                                        Y,
          Walmart, Inc., Wal-mart.Com USA, LLC,                               N
         The Stocktrek Corporation d/b/a Stocktrek Images,                        0 • --------------

         Inc., Pixels.com, LLC,Amazon.Com, Inc., Amazon.Com
Iii      Services, LLC, and Posterazzi Corp.
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u:::
         The undersigned demands a jury trial.




                                                                                         Craig D. Tobin
                                                                                          (Signature)




         □ Atty. No.: _4_7_2_7_6_ _ __
         Name:        Craig D. Tobin
         Atty. for:    Tobin & Mufioz, L.L.C.
         Address: 70 West Madison St., Suite 1950
         City/State/Zip: Chicago, IL 60602
         Telephone: (312) 641-1321                                   Dated:   January 6, 2021
         Primary Email: ctobin@barristers.com




                      IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                              Page 1 of 1
          Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 22 of 89 PageID #:28



                                                                                        FILED
                                                                                        1/6/2021 12:25 PM
                                    IN THE CIRCUIT COURT OF COOK COUNTY                 IRIS Y. MARTINEZ
                                                                                        CIRCUIT CLERK
                                      COUNTY DEPARTMENT, LAW DIVISION
                                                                                        COOK COUNTY, IL
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('I
               NICHOLAS GIOVANNELLI,
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                                             Plaintiff,
                                                                         -No.:

               WALMART, INC., WAL-MART.COM USA, LLC,
               THE STOCKTREK CORPORATION d/b/a
w              STOCKTREK IMAGES, INC., PIXELS.COM, LLC,
~              AMAZON.COM, INC., AMAZON.COM SERVICES,
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w              LLC, and POSTERAZZI CORP.
...J
u::                                                                      JURY DEMANDED
                                             Defendants.


                           _ILLINOIS SUPREME COURT RULE 222(B) AFFIDAVIT

              The undersigned certifies that the amount of damages sought in the above-captioned case
       does exceed $50,000.00..


                                                                        Respectfully Submitted,

                                                                        CRAJG D TOBJN             ()

                                                                       B.t0.         -~~J
                                                                       .Y.~ - ~ _/l-;c__
                                                                       Craig . Tobin
                                                                       Jessica •irlej
                                                                       Tobin & Munoz, L.L.C.
                                                                       70 W Madison, Suite 1950
                                                                       Chicago IL 60602-4298
                                                                       Office: (312) 641-1321
                                                                       Fax: (312) 641-5220
                                                                       ctobin@barristcrs.com
                                                                       jfirlej@bmristers.com
                                                                       Attorney No.: 47276

       SUBSCRIBED AND SWORN
       TO BEFORE ME THIS 6 th
       day of January 2021

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       NOTARY PUBLIC

              OFFICIAL SEAL
            PAMELA M JOHNSON
        NOTARY PUBLIC • STATE OF ILLINOIS
         MY COMMISSION EXPIRES:06/03/24
 Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 23 of 89 PageID #:29

. CT Corporation                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    01/21/2021
                                                                                                    CT Log Number 538925838
 TO:         Kim Lundy Service Of Process
             Walmart Inc.
             702 SW 8TH ST
             BENTONVILLE, AR 72716-6209

 RE:         Process Served in Illinois

 FOR:        WALMART INC. (Domestic State: DE)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                                 Giovannelli Nicholas, Pltf. vs. Walmart, Inc., et al., Dfts.
 DOCUMENT(S) SERVED:                              Summonses, Attachment(s), Complaint, Affidavit
 COURT/AGENCY:                                    Cook County Circuit Court - County Department - Law Division, IL
                                                  Case # 2020L000144
 NATURE OF ACTION:                                Summons and Complaint - Wal-Mart.Com USA, LLC breached its duty to Giovannelli
                                                  when it negligently failed to take necessary steps to procure his written consent, as
                                                  required by 765 ILCS 1075/30 prior to offering for sale and selling plaintiff's image
                                                  all across the country
 ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Chicago, IL
 DATE AND HOUR OF SERVICE:                        By Process Server on 01/21/2021 at 04:32
 JURISDICTION SERVED :                            Illinois
 APPEARANCE OR ANSWER DUE:                        Within 30 days after service, not counting the day of service
 ATTORNEY(S) / SENDER(S):                         Craig D. Tobin
                                                  Tobin & Munoz, L.L.C.
                                                  70W. Madison St., Suite 1950
                                                  Chicago, IL 60602
                                                  312-641-1321
 ACTION ITEMS:                                    CT has retained the current log, Retain Date: 01/22/2021, Expected Purge Date:
                                                  01/27/2021

                                                  Image SOP

                                                  Email Notification, Kim Lundy Service Of Process ctlawsuits@walmartlegal.com

 REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                  208 South LaSalle Street
                                                  Suite 814
                                                  Chicago, IL 60604
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
 The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
 relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
 of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                    Page 1 of 2 / SP
 Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 24 of 89 PageID #:30

. CT Corporation                                                                                     Service of Process
                                                                                                     Transmittal
                                                                                                     01/21/2021
                                                                                                     CT Log Number 538925838
 TO:         Kim Lundy Service Of Process
             Walmart Inc.
             702 SW 8TH ST
             BENTONVILLE, AR 72716-6209

 RE:         Process Served in Illinois

 FOR:        WALMART INC. (Domestic State: DE)




 advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
 therein.




                                                                                                     Page 2 of 2 / SP
        Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 25 of 89 PageID #:31



                                                                 ®., Wolters Kluwer
                           PROCESS'SERVER DELIVERY DETAILS




Date:                        Thu, Jan 21, 2021

Server Name:                 Sheriff Drop




Entity Served                WALMART INC.

Agent Name                   CT CORPORATION SYSTEM

Case Number                  2020L000144

Jurisdiction                 IL
 Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 26 of 89 PageID #:32



                                                                                               FILED
                                                                                               1/8/2021 12:34 PM
                                                                                               IRIS Y. MARTINEZ
                                                                                               CIRCUIT CLERK
                                                                                               COOK COUNTY, IL
                                                                                               2021L000144

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2120 - Served                    2121 - Served              2620 - Sec. of State
2220 - Not Served                2221 - Not Served          2621 -Alias Sec of State
2320 - Served By Mail            2321 - Served By Mail
2420 - Served By Publication     2421 - Served By Publication
Summons - Alias Summons                                                  (12/01/20) CCG 0001 A


                     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

Name all Parties



Nicholas Giovannelli
                                         Plaintiff(s)
                        V.
 Walmart, Inc., Wal-mart.Com USA, LLC,                  Case No.           2020 L 000144
The Stocktrek Corporation d/b/aStocktrek Images,
Inc., Pixels.com.Amazon.Com, Inc., Amazon.Com
Services, LLC, and Posterazzi Corp.
Walmart, Inc.                          Defendant(s)
c/o CT Corporation System
208 S. LaSalle St., Suite 814
Chicago, IL 60604
                        Address of Defendant(s)
Please serve as follows (check one):    0 Certified Mail       r~ Sheriff Service   () Alias
                                              SUMMONS
To each Defendant:
You have been named a defendant in the complaint in this case, a copy of which is hereto ·attached.
You are summoned and required to file your appearance, in the office of the clerk of this court,
within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
judgment by default may be entered against you for the relief asked in the complaint.
                   THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
COURTHOUSE. You will need: a computer with internet access; an email address; a completed
Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
appearance.asp; and a credit card to pay any required fees.




             Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                  cookcoun tyclerkofcourt. org
                                                 Page 1 of 3
Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 27 of 89 PageID #:33




                               DOC.TYPE:   LAW
                               CASE NUMBER:   2020L000144   SERVICE INF
                               DEFENDANT                    C/OCT COR
                               WALMART INC
                               208 S LASALLE ST
                               CHICAGO, IL 60604                           t
                               SUITE 814                    ATTACHED
                                                                            \
                         '---"------"----~---------_)
                   Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 28 of 89 PageID #:34


        Summons - Alias Summons                                                                                  (12/01/20) CCG 0001 B

        E-filing is now mandacory with limited exemptions. To e-file, you must first create an account with an e-filing
        service provider. Visithttp://efile.illinoiscourts.gov/ service-providers.htm to learn more and to select a service

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        If you need additional help or have trouble e-filing, visit http:/ /www.illinoiscourts.gov/fag/gethelp.asp or talk with
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0       your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
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        person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
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::;!;   If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
a.
'<t     yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
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N       illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
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        Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
~       date AND for information whether your hearing will be held by video conference or by telephone. The Clerk's
Li.i    office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
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        NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
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...J          appearance by. You may file your appearance form by efiling unless you are exempted .
u::
        A court date will be set in the future and you will be notified by email (either to the email address that you used to
        register for efiling, or that you provided to the clerk's office).
        CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
        cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
        appropriate clerk's office location listed on Page 3.
        To the officer: (Sheriff Service)
        This summons must be returned by the officer or other person to whom it was given for service, with endorsement
        of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
        endorsed. This summons may not be served later than thirty (30) days after its date.




        <~ Atty. No.: _4_7_2_76_ _ __                                  Witness date
        0 Pro Se 99500
                                                                                  1/8/2021 12:34 PM IRIS Y. MARTINEZ
        Name: _C_r_a_ig_D_._T_o_b_i_n___________
        Atty. for (if applicable):                                                 IRIS Y. MARTINEZ, Clerk of Court

         Tobin & Munoz, L.L.C.                                         D Service by Certified Mail:

        Address:    70 W. Madison St., Suite 1950                      D Date of Service:
                                                                          (To be inserted by officer on copy left w   ..__   _.   person)
        City:    Chicago

        State: IL       Zip:    60602

        Telephone: (312) 641-1321

        Primary Email:         ctobin@barristers.com

                                 Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                      cookcountyclerkofcourt.org
                                                                 Page 2 of 3
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                     Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 29 of 89 PageID #:35



                                    GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

             CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
             approptiate division, district or department to request your next court date. Email your case number, or, if you do
     ;       not have your case number, email the Plai~tiff or Defendant's name for civil case types, or the Defendant's name
     g       and birthdate for a criminal case.
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                         CHANCERY DIVISION                                         ALL SUBURBAN CASE TYPES
             Court date EMAIL: ChanCourtDatc@cookcountycourt.com                       DISTRICT 2 - SKOKIE
             Gen. Info: (312) 603-5133                                    Court date EMAIL: D2CourtDatc@cookcountycoun.com
                             CIVIL DIVISION                               Gen. Info: (847) 470-7250
             Court date EMAIL: CivCourtDatc@cookcountycourt.com                 DISTRICT 3 - ROLLING MEADOWS
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     ~       Gen. Info: (312) 603-5116                                    Court date EMAIL: D3CourtDatc@cookcountycourt.com
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     w                     COUNTY DIVISION                                Gen. Info: (847) 818-3000
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             Court date EMAIL: CntyCourtDatc@cookcountycourt.com                       DISTRICT 4 - MAYWOOD
             Gen. Info: (312) 603-5710                                    Couft <late El\iIAIL: D4CourtDatc@cookcoumycoun.com
              DOMESTIC RELATIONS/CHILD SUPPORT                            Gen. Info: (708) 865-6040
                               DIVISION                                             DISTRICT 5 - BRIDGEVIEW
             Court date EMAIL: DRCourtDate@cookcountycourt.com            Court date EMAIL: DSCourtDatc@cookcountycourt.com
                               OR
                               ChildSupCourtDate@cookcountycourt.com
                                                                          Gen. Info: (708) 974-6500
             Gen. Info:   (312) 603-6300                                              DISTRICT 6 - MARKHAM

                         DOMESTIC VIOLENCE                                Court date EMAIL: D6CourtDatc@cookcounrycourr.com
             Court date EMAIL: DVCourtDate@cookcountycourt.com            Gen. Info: (708) 232-4551
             Gen. Info: (312) 325-9500

                              LAW DIVISION
             Court date EMAIL: LawCourtDate@cookcountycourt.com
             Gen. Info: (312) 603-5426

                          PROBATE DIVISION
             Court date EMAIL: ProbCourtDatc::@cookcountycourt.com
             Gen. Info: (312) 603-6441




                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                       cookcountyclerkofcourt.org
                                                                   Page 3 of 3
 Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 30 of 89 PageID #:36



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                                                                                                  CIRCUIT CLERK
                                                                                                  COOK COUNTY, IL
                                                                                                  2021L000144

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2120 - Served                    2121 - Served              2620 - Sec. of State
2220 - Not Served                2221 - Not Served          2621 -Alias Sec of State
2320 - Served By Mail            2321 - Served By Mail·
2420 - Served By Publication     2421 - Served By Publication
Summons - Alias Summons                                                  (12/01/20) CCG 0001 A


                     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

Name all Parties



Nicholas Giovannelli
                                         Plaintiff(s)
                        V.
Walmart, Inc., Wal-mart.Com USA, LLC,                   Case No.               2020 L 000144
The Stocktrek Corporation d/b/aStocktrek Images,
Inc., Pixels.com,Amazon.Com, Inc., Amazon.Com
Services, LLC, and Posterazzi Corp.
Walmart, Inc.                          Defendant(s)
c/o CT Corporation System
208 S. LaSalle St., Suite 814
Chicago, IL 60604
                        Address of Defendant(s)
Please serve as folJows (check one):    () Certified Mail          ,~ Sheriff Service   O Alias
                                              SUMMONS
To each Defendant:
You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
You are summoned and required to file your appearance, in the office of the clerk of this court,
within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
judgment by default may be entered against you for the relief asked in the complaint.
                   THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
COURTHOUSE. You wilJ need: a computer with internet access; an email address; a completed
Appearance form that can be found at http://www.ilJinoiscourts.gov/Forms/approved/procedures/
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                                  cookcountyclerkofcourt.org
                                                 Page 1 nf 3   .
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                                   DOC.TYPE:    LAW
                                   CASE NUMBER: 2020L000144
                                   DEFENDANT
                                                                            /

                                                                                ~    SERVICE INF
                     l             WALMARTINC                                        C/OCTCOR
                                   208 S LASALLE ST
                                   CHICAGO. IL 60604
                                   SUITE 8.14
                                                                                     ATTACHED


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                    Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 32 of 89 PageID #:38


        Summons - Alias Summons                                                                                  (12/01/20) CCG 0001 B

        E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
        service provider. Visithttp://efile.illinoiscourts.gov/ service-providers.htm to learn more and to select a service
        provider.
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'St     If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/fag/gethelp.asp or talk ·with
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0       your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
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N       person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
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        If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
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'St     yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
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N       illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
        Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
        date AND for information whether your hearing will be held by video conference or by telephone. The Clerk's
u.i     office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
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        NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
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....J         appearance by. You may file your appearance form by efiling unless you are exempted .
u:
        A court date will be set in the future and you will be notified by email (either to the email address that you used to
        register for efiling, or that you provided to the clerk's office).
        CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
        cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
        appropriate clerk's office location listed on Page 3.
        To the officer: (Sheriff Sen,ice)
        This summons must be returned by the officer or other person to whom it was given for service, with endorsement
        of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
        endorsed. This summons may not be served later than thirty (30) clays after its elate.




        ~ Atty. No.:   _4;_;_7---'2_7.. .; . 6_ _ __                   Witness date
        0 Pro S~ 99500
                                                                                  1/8/2021 12:34 PM IRIS Y. MARTINEZ
                    Craig D. Tobin
        Name:
        Atty. for (if applicable):                                                 IRIS Y. MARTINEZ, Clerk of Court

         Tobin & Munoz, L.L.C.                                         D Service by Certified Mail:

        Address:     70 W. Madison St., Suite 1950                     D Date of Service:
                                                                          (fo be inserted by officer on copy left w   ..__   _.   person)
        City:   Chicago

        State: IL       Zip:      60602

        Telephone: (312) 641-1321

        Primary Email:         ctobin@barristers.com

                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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                                                                 Page 2 of 3
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                                      GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

               CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
               appropriate division, district or department to request your next court date. Email your case number, or, if you do
'Sf"
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               not have your case number, email the Plai~tiff or Defendant's name for civil case types, or the Defendant's name
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                           CHANCERY DIVISION                                         ALL SUBURBAN CASE TYPES
               Court date EMAIL: ChanCourtDatc@cookcountycourt.com                       DISTRICT 2- SKOKIE
               Gen. Info: (312) 603-5133                                    Court date EMAIL: D2CourtDate@cookcountycourt.com
                             · CIVIL DIVISION                               Gen. Info: (847) 470-7250
               Court date EMAIL: CivCourtDate@cookcountycourt.com                 DISTRICT 3 - ROLLING MEADOWS
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<t:            Gen. Info: (312) 603-5116                                    Court date EMAIL: D3CourtDate@cookcountycourt.com
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_J                           COUNTY DIVISION                                Gen. Info: (847) 818-3000
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               Court date EMAIL: CntyCourtDate@cookcountycourt.com                      DISTRICT 4 - MAYWOOD
               Gen. Info: (312) 603-5710                                    Court date EMAIL: D4CourtDate@cookcountycourt.com
                DOMESTIC RELATIONS/CHILD SUPPORT                            Gen. Info: (708) 865-6040
                                 DIVISION                                             DISTRICT 5 - BRIDGEVIEW
               Court date EMAIL: DRCourtDate@cookcountycourt.com            Court date EMAIL: DSCourtDate@cookcountycourt.com
                                 OR
                                 ChildSupCourtDate@cookcountycourt.com
                                                                            Gen. Info: (708) 974-6500
               Gen. Info:   (312) 603-6300                                              DISTRICT 6 - MARKHAM

                           DOMESTIC VIOLENCE                                Court date EMAIL: D6Courr.Date@cookcountycourt.com
               Court date EMAIL: DVCourtDate@cookcountycourt.com            Gen. Info: (708) 232-4551
               Gen. Info: (312) 325-9500

                                LAW DIVISION
               Court date EMAIL: LawCourtDate@cookcountycourt.com
               Gen. Info: (312) 603-5426

                            PROBATE DIVISION
               Court date EMAIL: ProbCourtDate@cookcountycourt.com
               Gen. Info: (312) 603-6441




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                                                                     Page 3 of 3
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                                             12-Person Jury


                                                                                         FILED
                                                                                         1/6/2021 12:25 PM
                             IN THE CIRCUIT COURT OF COOK COUNTY                         IRIS Y. MARTINEZ
                               COUNTY DEPARTMENT, LAW OJVlSlON                           CIRCUIT CLERK
                                                                                         COOK COUNTY, IL
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~            NICHOLAS GIOVANNELLI,
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                                           Plaintiff,
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~                                   V.                                        No.:
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~            WALMART, INC., WAL-MART.COM USA, LLC,
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             THE STOCK TREK CORPORATION d/b/a
             STOCKTREK IMAGES, INC., PIXELS.COM, LLC,
                                                                          I
~            AMAZON.COM, INC., AMAZON.COM SERVICES,
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             LLC, and POSTERAZZI CORP.
                                           Defendants.
                                                                         j JURY DEMANDED


                                          COMPLAINT AT LAW

             Now comes the plaintiff, Nicholas Giovannelli, by and through his attorneys, Craig D.

      Tobin of Tobin & Munoz LLC, and as and for his complaint against defendants Walmart, Inc.,

      Wal-Mart.Com USA, LLC, The Stocktrek Corporation d/b/a StockTrek Images, Inc.,

      Pixels.Com, LLC, Amazon.Com, Inc., Amazon.Com Services, LLC, and Posterazzi Corp. states

      as follows:

             1.     This action is brought under the Illinois Right of Publicity Act, 765 ILCS 1075/1

      et seq. (1999), and the common law action for Negligent Infliction of Emotional Distress.

                                                 PARTIES

             2.     At all relevant times hereto, the plaintiff, Nicholas Giovannelli, was and is a

      citizen of Cook County, ]llinois. Giovannelli is a decorated combat veteran, having served in the

      Airborne Infantry of the U.S Army, beginning in 2007, including multiple tours of duty in

      Afghanistan. He was honorably discharged for medical reasons in 2015.
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              3.      WalMart, Inc., at all relevant times hereto, is a Delaware corporation present and

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       doing business in Cook County,· Illinois.    WalMart, Inc. is in the business of selling general
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       merchandise through their stores, including photographic images.
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:a:           4.      Wal-Mart.com USA, LLC, at all relevant times hereto, is a California limited
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N      liability company present and doing business in Cook County, Illinois.       Wal-Mart.com USA,
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~      LLC is in the business of selling general merchandise through the internet, including
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e§     photographic images.
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u:            5.      The StockTrek Corporation d/b/a StockTrek Images, Inc., at all relevant times

       hereto, is a Delaware corporation present and doing business in Cook County, Illinois.

       StockTrek is in the business of selling photographic images, primarily through the internet.

              6.      Pixels.com, LLC, at all relevant times hereto, is an Illinois limited liability

       company, present and doing business in Cook County, Illinois. Pixels.com is in the business of

       selling photographic images, primarily through the internet.

              7.      Amazon.Com, Inc., at all relevant times hereto, is a Delaware corporation present

       and doing business in Cook County, Illinois. Amazon.com, Inc. is in the business of selling

       general merchandise through the internet, including photographic images.

              8.      Amazon.Com Services, LLC, at all relevant times hereto, is a Delaware limited

       liability company, present and doing business in Cook County, Illinois. Amazon.Com Services,

       LLC is in the business of selling general merchandise through the internet, including

       photographic images.

              9.      Posterazzi Corp., at all relevant times hereto, is a New York corporation, present

       and doing business in Cook County, Illinois.        Posterazzi Corp. is in the business of selling

       photographic images, primarily through the internet.




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                                    FACTS COMMON TO ALL COUNTS

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               IO.    During his service ·in the Airborne Infantry, Giovannelli participated in over I 00
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       combat patrols. As a result of his service, Giovannelli was awarded the Purple Heart, Combat
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2      Infantry Badge, and Army Commendation with V Device, for acts of heroism while involved in
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       conflict with an armed enemy.

               11.    As a result of his service, Giovannelli developed certain medical issues: herniated
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       disks in his lower back and neck, post-concussion headaches as a result of traumatic brain injury,
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u:::   and PTSD. As a result of these conditions, Giovannelli was given a medical retirement in 2015 .

       Giovannelli continues to be treated for these conditions.

               12.    While Giovannelli was serving in the military, he was photographed by Army

       photographers while in combat.

               13.    Recently, Giovannelli discovered that photographs taken of him while m the

       military were being publicly sold, for commercial purposes, through for-profit entities.

               14.    Giovannelli has never given consent to any of the defendants to use his image for

       any purpose, including financial gain.

                                                COUNT 1-Walmart, Inc.

               15.    Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

       here.

               16.    During 2020 and, upon information and belief, earlier than 2020, WalMart, Inc.,

       at its stores throughout the country and online, without Giovannelli's consent, sold posters which

       bore an image of Giovannelli in combat.

               17.    WalMart, Inc. profited financially from the sale of Giovannelli's image.




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                18.    At all relevant times, WalMart, Inc. knew that it lacked consent from Giovannelli

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       to commercially exploit h-is image.     WalMart, Inc. 's actions were willful and malicious, and
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       punitive damages are appropriate.
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                19.   _As a result of WalMart, lnc.'s actions, Giovannelli has suffered extreme

       emotional distress.     As a result of WalMart, lnc.'s actions, Giovannelli's PTSD has been

       exacerbated.
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e§              WHEREFORE, plaintiff prays for the following relief from Wal-Mart, Inc.:
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u:::            A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiff's PTSD;

                B.     That all profits procured through the sale of plaintiff's image be disgorged and

       awarded to plaintiff;

                C.    An award of punitive damages as permitted by 75 ILCS 1075/40;

                D.    An award of plaintiff's reasonable attorney's fees, costs and expenses as

       permitted by 75 ILCS 1075/55.

                E.    For such other relief as this court deems just.

                                        COUNT II-Wal-Mart.Com USA, LLC

                20.   Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

                21.   During 2020 and, upon information and belief, earlier than 2020, Wal-Mart.com

       USA, LLC, at its stores throughout the country and online, without Giovannelli's consent, sold

       posters which bore an image of Giovannelli in combat.

                22.   Wal-Mart.com USA, LLC profited financially from the sale of Giovannelli's

       image.




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               23.    At all relevant times, Wal-Mart.com USA,.LLC knew that it lacked consent from

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       Giovannelli to commercially exploit his image. Wal-Mart_.com USA, LLC's actions were willful
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       and malicious, and punitive damages are appropriate .
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               24.    As a result of Wal-Mart.com USA, LLC's actions, Giovannelli has suffered

       extreme emotional distress. As a result of Wal-Mart.com USA, LLC's actions, Giovannelli's

       PTSD has been exacerbated.
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~              WHEREFORE, plaintiff prays for the following relief from Wal-Mart.com USA, LLC:
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u::            A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

               B.      That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to plaintiff;

               C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

               D.     An award of plaintiff's reasonable attorney's fees, costs and expenses as

       permitted by 75 ILCS 1075/55.

               E.     For such other relief as this court deems just.

                        COUNT III- The StockTrek Corporation d/b/a StockTrek Images, Inc.

               25.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

               26.    StockTrek Images, Inc., during 2020 and, upon information and belief, earlier

       than 2020, without Giovannelli's consent, sold posters which bore an image of Giovannelli in

       combat.

               27.    StockTrek Images, Inc. profited financially from the sale of Giovannelli's image.




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                28.    At all relevant times, StockTrek Images, lnc. knew that it lacked consent from

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        Giovannelli to commerciaHy exp to it his image. StockTrek Images, Inc.' s actions were willful
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....J   and malicious, and punitive damages are appropriate .
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                29.    As a result of StockTrek Images, Inc.'s actions, Giovannelli has suffered extreme

        emotional distress.   As a result of StockTrek Images, Inc. 's actions, Giovannelli's PTSD has

        been exacerbated.
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                WHEREFORE, plaintiff prays for the following relief from StockTrek Images, Inc.:
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u:              A.     Damages in an amount in excess of One Million Dollars for emotional distress

        and exacerbation of plaintiff's PTSD;

                B.      That all profits procured through the sale of plaintiff's image be disgorged and

        awarded to the plaintiff;

                C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

                D.     An award of plaintiff's reasonable attorney's fees, costs, and expenses as

        permitted by 75 ILCS 1075/55.

                E.     For such other relief as this court deems just.

                                             COUNT IV-Pixels.Com, LLC

                30.    Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

        here.

                31.    Pixels.Com, LLC, during 2020 and, upon information and belief, earlier than

        2020, without Giovannelli's consent, sold posters which bore an image of Giovannelli in combat.

                32.    Pixels.Com, LLC profited financially from the sale of Giovannelli's image.




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               33.    At all relevant times,. Pixels.Com, LLC knew that it lacked consent from

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       Giovannelli to commercially exploit his image.        Pixel.com, LLC's actions were willful and
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       malicious, and punitive damages are appropriate .
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               34.    As a result of Pixels.Com, LLC's actions, Giovannelli has suffered extreme

       emotional distress.   As a result of Pixels.Com, LLC's actions, Giovannelli's PTSD has been

       exacerbated.
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~              WHEREFORE, plaintiff prays for the following relief from Pixel's.Com, LLC:
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LL             A.     Damages in an amount in excess of One Million Dollars for emoJional distress

       and exacerbation of plaintiffs PTSD;

               B.      That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to the plaintiff;

               C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

               D.     An award of plaintiffs reasonable attorney's fees, costs, and expenses as

       permitted by 75 ILCS 1075/55.

               E.     For such other relief as this court deems just.

                                             COUNT V-Posterazzi Corp.

               35.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

               36.    Posterazzi Corp., during 2020 and, upon information and belief, earlier than 2020,

       without Giovannelli's consent, sold posters which bore an image of Giovannelli in combat.

       During this time period, Posterazzi Corp. sold posters which not only bore Giovannelli's image

       but also identified him by name and rank.

               37.    Posterazzi Corp. profited financially from the sale of Giovannelli's image.




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               38.    At all relevant times, Posterazzi Corp. knew that it lacked consent from

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       Giovannelli to commercially expfoit his image.       Posterazzi Corp.'s actions were willful and
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       malicious, and punitive damages are appropriate .
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~              39.    As a result of Posterazzi Corp.'s actions, Giovannelli has suffered extreme
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N      emotional distress.   As a result of Posterazzi Corp.'s actions, Giovannelli's PTSD has been
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               WHEREFORE, plaintiff prays for the following relief from Posterazzi Corp.:
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u:             A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

               B.      That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to the plaintiff;

               C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

               D.     An award of plaintiffs reasonable attorney's fees, costs, and expenses as

       permitted by 75 ILCS 1075/55.

               E.     For such other relief as this court deems just.

                                           COUNT VI-Amazon.Com, Inc.

               40.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

               41.    Amazon.Com, Inc., during 2020 and, upon information and belief, earlier than

       2020, without Giovannelli's consent, sold posters which bore an image of Giovannelli in combat.

               42.    Amazon.Com, lnc. profited financially from the sale of Giovannelli's image.




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                43.   At all relevant times, Amazon.Com, Inc. knew that it lacked consent from

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       Giovannelli to commercially exploit his image. Amazon.Com, lnc.'s actions were willful and
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       malicious, and punitive damages are appropriate .
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                44.   As a result of Amazon.Com, Inc.'s actions, Giovannelli has suffered extreme

       emotional distress. As a result of Amazon.Com, lnc.'s actions, Giovannelli's PTSD has been
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                WHEREFORE, plaintiff prays for the following relief from Amazon.Com, Inc.:
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u::             A.    Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

                B.     That all profits procured through the sale of plaintiff's image be disgorged and

       awarded to the plaintiff;

                C.    An award of punitive damages as permitted by 75 ILCS 1075/40;

                D.    An award of plaintiffs reasonable attorney's fees, costs and expenses as

       permitted by 75 ILCS I 075/55.

                E.    For such other relief as this court deems just.

                                      COUNT VII-Amazon.Com Services, LLC

                45.   Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

                46.   Amazon.Com Services, LLC, during 2020 and, upon information and belief,

       earlier than 2020, without Giovannelli's consent, sold posters which bore an image of

       Giovannelli in combat.

                47.   Amazon.Com Services, LLC profited financially from the sale of Giovannelli's

       image.




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                 48.     At all relevant ti111es, Amazon.Corn Services, LLC, knew that it lacked consent

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        from Giovannelli to commercially exploit his image.          Amazon.Corn Services, LLC's actions
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....J   were willful and malicious, and punitive damages are appropriate .
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                 49.     As a result of Amazon.Corn Services, LLC's actions, Giovannelli has suffered

        extreme emotional distress. As a result of Amazon.Com Services, LLC's actions, Giovannelli's

        PTSD has been exacerbated.
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e§               WHEREFORE, plaintiff prays for the following relief from Amazon.Corn Services,
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u:::    LLC's:

                 A.      Damages in an amount in excess of One Million Dollars for emotional distress

        and exacerbation of plaintiffs PTSD;

                 B.      That all profits procured through the sale of plaintiff's image be disgorged and

        awarded to the plaintiff;

                 C.      An award of punitive damages as permitted by 75 ILCS 1075/40;

                 D.      An award of plaintiffs reasonable attorney's fees, costs and expenses as

        permitted by 75 ILCS 1075/55.

                 E.      For such other relief as this court deems just.

                                            COUNT VIII-WalMart, Inc.--NIES

                 50.     Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

        here.

                 51.     WalMart, Inc. owed a duty to Giovannelli under Illinois law not to publicize

        and/or sell his image for profit without first procuring his written consent as required by 765

        ILCS I 075/30.




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               52.    WalMart, Inc. breached its duty to Giovannelli when it negligently failed to take

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       necessary steps to procure his written consent, as required by 765 ILCS I 075/30, prior to
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       offering for sale and selling plaintiffs image all across the country.
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2              53.    WalMart, Inc's breach of duty directly and proximately caused plaintiff to suffer
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       extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiffs PTSD.

       As a result of plaintiffs emotional distress, he is under a doctor's care and taking medication.
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~              WHEREFORE, plaintiff prays for judgment in his favor and against defendant WalMart,
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u::    Inc. in an amount in excess of One Million Dollars ($100,000,000.00), plus costs.

                                    COUNT IX-Wal-Marl.Com USA, LLC--NIES

               54.    Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

       here.

               55.    Wal-Mart.Com USA, LLC owed a duty to Giovannelli under Illinois law not to

       publicize and/or sell his image for profit without first procuring his written consent as required

       by 765 ILCS I 075/30.

               56.    Wal-Mart.Com USA, LLC breached its duty to Giovannelli when it negligently

      failed to take necessary steps to procure his written consent, as requi_red by 765 ILCS 1075/30,

      prior to offering for sale and selling plaintiffs image all across the country.
                                                  \.
               57.   ' Wal-Mart.Com USA, LLC's breach of duty directly and proximately caused

       plaintiff to suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of

      . plaintiffs PTSD. As a result of plaintiffs emotional distress, he is under a doctor's care and

      taking medication.




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                  WHEREFORE, plaintiff prays for judgment in his favor and against defendant Wal-

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        Mart.Com USA, LLC in an amount in excess of One Million Dolla·rs ($100,000,000.00), plus
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ie                                      COUNT X-StockTrek Images, lnc.--NIES
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                  58.   Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth
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LJ..    here.

                  59.    StockTrek Images, Inc. owed a July lo Giovannelli under Illinois law not to

        publicize and/or sell his image for profit without first procuring his written consent as required

        by 765 ILCS I 075/30.

                  60.    StockTrek Images, Inc. breached its duty to Giovannelli when it negligently failed

        to take necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to

        offering for sale and selling plaintiffs image all across the country.

                  61.    StockTrek Images, Inc.'s breach of duty directly and proximately caused plaintiff

        to suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of

        plaintiffs _PTSD. As a result of plaintiffs emotional distress he is under a doctor's care and

        taking medication.

                  WHEREFORE, plaintiff prays for judgment in his favor and against defendant StockTrek

        in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                                          COUNT XI-Pixels.Com, LLC--NIES

                  62.   Plaintiff incorporates by reference paragraphs      through 14 as if fully set forth

        here.




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 46 of 89 PageID #:52




               63.       Pixels.Com, LLC owed a duty to Giovannelli under Illinois law not to publicize

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       and/or sell his image for profit without first procuring his written consent as required by 765
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       ILCS I 075/30 .
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               64.       Pixels.Com, LLC breached its duty to Giovannelli when it negligently failed to

       take necessary steps to procure his written consent, as required by 765 ILCS I 075/30, prior to

       offering for sale and selling plaintiffs image all across the country.
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               65.       Pixels.Com, LLC's breach of duty directly and proximately caused plaintiff to
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u:     suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiff's

       PTSD.    As a result of plaintifrs emotional distress, he is under a doctor;s care and taking

       medication.

               WHEREFORE, plaintiff prays for judgment in his favor and against defendant

       Pixels.Com, LLC in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                                        COUNT XII-Amazon.Com, Inc.--NIES

               66.      Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

       here.

               67.      Amazon.Com, Inc. owed a duty to Giovannelli under Illinois law not to publicize

       and/or sell his image for profit without first procuring his written consent as required by 765

       ILCS I 075/30.

               68.      Amazon.Com, Inc. breached its duty to Giovannelli when it negligently failed to

       take necessary steps to procure his written consent, as required by 765 ILCS I 075/30, prior to

       offering for sale and selling plaintiffs image all across the country.

               69.      Amazon.Com, Inc.'s breach of duty directly and proximately caused plaintiff to

       suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiffs




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           Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 47 of 89 PageID #:53




         PTSD.    As a result of plaintiffs emotional distress, he 1s under a doctor's care and taking

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         medication.
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                 WHEREFORE, plaintiff prays for judgment in his favor and against defendant
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         Amazon.Com, Inc. in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                                    COUNT XIII-Amazon.Com Services, LLC--NJES

                 70.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth
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u::              71.    Amazon.Com Services, LLC owed a duty to Giovannelli under Illinois law not to

         publicize and/or sell his image for profit without firsl procuring his written consent as required

         by 765 ILCS 1075/30.

                 72.    Amazon.Com Services, LLC breached its duty to Giovannelli when it negligently

         failed to take necessary steps to procure his written consent, as required by 765 ILCS 1075/30,

         prior to offering for sale and selling plaintiffs image all across the country.

                 73.    Amazon.Com Services, LLC's breach of duty directly and proximately caused

         plaintiff to suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of

         plaintiffs PTSD. As a result of plaintiffs emotional distress, he is under a doctor's care and

        . taking medication.

                 WHEREFORE, plaintiff prays for judgment in his favor and against defendant

         Amazon.Com Services, LLC in an amount in excess of One Million Dollars ($1,000,000.00),

         plus costs.

                                           COUNT XIV-Posterazzi Corp.--NIES

                 74.    Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

         here.




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          Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 48 of 89 PageID #:54




                75.      Posterazzi Crop. owed a duty to Giovannelli under Illinois law not to publicize

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        and/or sell his image for profit without first procuring his written consent as required by 765
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        JLCS 1075/30 .
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                76.      Posterazzi Corp. breached its duty to Giovannelli when it negligently failed to

        take necessary steps to procure his written consent, as required by 765 JLCS 1075/30, prior to

        offering for sale and selling plaintiffs image all across the country.
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~               77.      Posterazzi Corp.'s breach of duty directly and proximately caused plaintiff to
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        suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiff's

        PTSD.    As a result of plaintiff's emotional distress, he is under a doctor's care and taking

        medication.

                WHEREFORE, plaintiff prays for judgment in his favor and against defendant Posterazzi

        Corp.'s in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                         Plaintiff demands trial by jury on all counts.

                                                                          s/ Craig D. Tobin
                                                                          Craig D. Tobin
                                                                          One of Plaintiffs attorneys

        Craig D. Tobin
        Jessica Firlej
        Attorneys for Plaintiff
        Tobin & Munoz, L.L.C.
        70 W Madison Street, Suite 1950
        Chicago, IL 60602-4298
        Office: (312) 641-1321
        Fax: (312) 641-5220
        Emai I: ctobin@barristers.com
                 jfirlej@barristers.com
        Attorney No.: 47276




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                    Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 49 of 89 PageID #:55
       1910 - No Fee Paid
       1919 - Fee Paid
       Jury Demand                                                                             (Rev. 12/01/20) CCG 0067

                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                     County           DEPARTMENT/             1st      DISTRICT
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        Nicholas Giovannelli

                                      v.
       Walmart, Inc., Wal-mart.Com USA, LLC,                                 N0
       The Stocktrek Corporation d/b/a Stocktrek Images,                          • --------------
       Inc., Pixels.com, LLC,Amazon.Com, Inc., Amazon.Com
u..i    Services. LLC. and Posterazzi Corp.
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                                                      JURY DEMAND
u:::   The undersigned demands a jury trial.




                                                                                        Craig D. Tobin
                                                                                         (Signature)




       □ Atty. No.: _4_7_2_7_6_ _ __
       Name:        Craig D. Tobin
       Atty. for:    Tobin & Mufioz, L.L.C.
       Address: 70 West Madison St., Suite 1950 ·
       City/State/Zip: Chicago, IL 60602
       Telephone: (312) 641-1321                                    Dated:   January 6, 2021
       Primary Email: ctobin@barri~ters.com




                    IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                            Page 1 of 1
          Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 50 of 89 PageID #:56


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               NICHOLAS GIOV ANNELLI,
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                                             Plaintiff,
a.
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               W ALMART, INC., WAL-MART.COM USA, LLC,
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               THE STOCKTREK CORPORATION d/b/a
               STOCKTREK IMAGES, INC., PIXELS.COM, LLC,
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               AMAZON.COM, INC., AMAZON.COM SERVICES,

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               LLC, and POSTERAZZI CORP.
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u:::                                                                         JURY DEMANDED
                                             Defendants.


                          ILLINOIS SUPREME COURT RULE 222{B) AFFIDAVIT

              The undersigned certifies that the amount of damages sought in the above-captioned case
       does exceed $50,000.00.




                                                                       Craig · .. Tobin
                                                                       Jessica ~irlej
                                                                       Tobin & Munoz, L.L.C ..
                                                                       70 W Madison, Suite l 950
                                                                       Chicago IL 60602-4298
                                                                       Office: (312) 641-1321
                                                                       Fax: (312) 641-5220
                                                                       ctobin@barristers.com
                                                                       jfirlej@baITisters.com
                                                                       Attorney No.: 47276

       SUBSCRIBED AND SWORN
       TO BEFORE ME THIS 6 th
       day of January 2021

       T4~(A M \ ) ~ .
       NOTARY PUBLIC
                           ..
              OFFICIAL SEAL
            PAMELA M JOHNSON
        NOTARY PUBLIC· STATE OF ILUNOIS ..
         MY COMMISSION EXPIRES:06/03/24
           Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 51 of 89 PageID #:57



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N       2120 - Served                     2121 - Served              2620 - Sec. of State
        2220 - Not Served                 2221 - Not Served          2621 - Alias Sec of State
        2320 - Served By Mail             2321 - Served By Mail
        2420 - Served By Publication      2421 - Served By Publication
        Summons - Alias Summons                                                   (12/01/20) CCG 0001 A

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<!                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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w
....J   Name all Parties
LL




        Nicholas Giovannelli
                                                  Plaintiff(s)
                                 V.
        Walmart, Inc., Wal-mart.Com USA, LLC ,                    Case N o.        2020 L 000144
        The Stocktrek Corporation d/b/aStocktrek Images,
        Inc., Pixels .com .Amazon .Com , Inc., Amazon .Com                                               N
                                                                                                         N
        Services, LLC, and Posterazzi Corp .
         Posterazzi Corp .
         c/o James Ferrazzano
                                                D efendant(s)
                                                                                                          -
         144 Main Street
                                                                                                             ...D   ""TI
         Chester, NY 10918
                                 Address of Defendant(s)
        Please serve as follows (check one) :        Certified Mail      ·~ Sheriff Service   Alias
                                                       SUMMONS
        To each Defendant:
        You have been named a defend ant in the complain t in this case, a copy o f which is hereto attached.
        You are summoned and required to file your appearance, in the offi ce o f the clerk of thi s court,
        within 30 days after service o f thi s summons, not counting the day o f service. If you fail to do so, a
        judgment by default may be entered against you for the relief as ked in the complaint.
                           THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
        To file your written appearance/an swer YOU DO NOT NEED TO COME TO THE
        COURTHOUSE. You will need: a computer with intern et access; an email address; a co mpleted
        Appearance form that c~n be found at http:/ /www.illinoiscourts.gov/Forms/ approved/ procedures /
        appearance.asp; and a credit card to pay any required fees.




                      Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                           cookcountyclerkofcourt.org
                                                           Page 1 of 3
                  Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 52 of 89 PageID #:58


      Summons - Alias Summons                                                                         (12/01/20) CCG 0001 B

      E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
      service provider. Visithttp://efile.illinoiscourts.gov/ service-providers.htm to learn more and to select a service
      provider.
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      If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/fag/gethelp.asp or talk with
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0     your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
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N     person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
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'.2   If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
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'<t   yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
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      illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
      Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
      date AND for information whether your hearing will be held by video conference or by telephone. The Clerk's
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f-    office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
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0     NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
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U:
            appearance by. You may file your appearance form by efiling unless you are exempted.
      A court date will be set in the future and you will be notified by email (either to the email address that you used to
      register for efiling, or that you provided to the clerk's office).
      CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
      cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
      appropriate clerk's office location listed on Page 3.
      To the officer: (Sheriff Service)
      This summons must be returned by the officer or other person to whom it was given for service, with endorsement
      of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
      endorsed. This summons may not be served later than thirty (30) days after its date.




      -~Atty.No.: _4.....;.7_2_7_6_ _ __                             Witness date _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       ,'· Pro Se 99 500
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                                                                              1/8/2021 12:34 PM IRIS Y MARTINEZ
                  Craig D. Tobin
      Name:
      Atty. for (if applicable):                                                 IRIS Y. MARTINEZ, Clerk of Court

       Tobin & Munoz, L.L.C.

      Address:     70 W. Madison St. , Suite 1950                        Date of Service:
                                                                        (To be inserted by o ffi ce         ployer or other person)
      City:    Chicago

      State: IL       Zip:    60602

      Telephone: (312) 641-1321

      Primary Email:         ctobin@barristers .com

                               Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                    cookcountyclerkofcourt.org
                                                                Page 2 of 3
         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 53 of 89 PageID #:59
                                              12-Person Jury

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                              IN THE CIRCUIT COURT OF COOK COUNTY                          IRIS Y. MARTINEZ
                                COUNTY DEPARTMENT, LAW DIVISION                            CIRCUIT CLERK
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               NICHOLAS GIOV ANNELLI,
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                                            Plaintiff,
                                     V.                                        No .:


               WALMART, INC. , WAL-MART.COM USA, LLC ,

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               THE STOCKTREK CORPORATION d/b/a
               STOCKTREK IMAGES, INC. , PIXELS .COM, LLC,
                                                                           I
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               AMAZON.COM, INC. , AMAZON .COM SERVICES,

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0              LLC, and POSTERAZZI CORP.
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...J                                                                        JURY DEMANDED
u::                                         Defendants.


                                           COMPLAINT AT LAW

               Now comes the plaintiff, Nicholas Giovannelli, by and through his attorneys, Craig D .

       Tobin of Tobin & Munoz LLC , and as and for his complaint against defendants Walmart, Inc.,

       Wal-Mart.Com USA, LLC, The Stocktrek Corporation d/b/a StockTrek Images, Inc.,

       Pixels .Com, LLC, Amazon.Com, Inc., Amazon.Com Services, LLC, and Posterazzi Corp. states

       as follows :

               1.     This action is brought under the Illinois Right of Publicity Act, 765 ILCS 1075/1

       et seq. (1999), and the common law action for Negligent Infliction of Emotional Distress.

                                                   PARTIES

               2.     At all relevant times hereto, the plaintiff, Nicholas Giovannelli, was and is a

       citizen of Cook County, Illinois . Giovannelli is a decorated combat veteran, having served in the

       Airborne Infantry of the U.S Army, beginning in 2007, including multiple tours of duty in

       Afghanistan . He was honorably discharged for medical reasons in 2015 .
         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 54 of 89 PageID #:60




              3.      WalMart, Inc. , at all relevant times hereto, is a Delaware corporation present and

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       doing business in Cook County, Illinois . WalMart, Inc. is in the business of selling general
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       merchandise through their stores, including photographic images.
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              4.      Wal-Mart.com USA, LLC, at all relevant times hereto, is a California limited

       liability company present and doing business in Cook County, Illinois . Wal-Mart.com USA ,

       LLC is in the business of selling general merchandise through the internet, including
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~      photographic images .
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u:::          5.      The StockTrek Corporation d/b/a StockTrek Images, Inc., at all relevant times

       hereto, is a Delaware corporation present and doing business in Cook County, Illinois.

       StockTrek is in the business of selling photographic images, primarily through the internet.

              6.      Pixels.com, LLC, at all relevant times hereto, is an Illinois limited liability

       company, present and doing business in Cook County, Illinois. Pixels.com is in the business of

       selling photographic images, primarily through the internet.

              7.      Amazon .Com, Inc. , at all relevant times hereto, is a Delaware corporation present

       and doing business in Cook County, Illinois . Amazon .com, Inc. is in the business of selling

       general merchandise through the internet, including photographic images.

              8.      Amazon .Com Services, LLC, at all relevant times hereto, is a Delaware limited

       liability company, present and doing business in Cook County, Illinois. Amazon.Com Services,

       LLC is in the business of selling general merchandise through the internet, including

       photographic images.

              9.      Posterazzi Corp. , at all relevant times hereto, is a New York corporation, present

       and doing business in Cook County, Illinois . Posterazzi Corp . is in the business of selling

       photographic images, primarily through the internet.




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          Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 55 of 89 PageID #:61




                                     FACTS COMMON TO ALL COUNTS

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                10.    During his service in the Airborne Infantry, Giovannelli participated in over 100
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        combat patrols . As a result of his service, Giovannelli was awarded the Purple Heart, Combat
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~       Infantry Badge, and Army Commendation with V Device, for acts of heroism while involved in
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N       conflict with an armed enemy.
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                11.    As a result of his service, Giovannelli developed certain medical issues : herniated
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        disks in his lower back and neck, post-concussion headaches as a result of traumatic brain injury,
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u:      and PTSD. As a result of these conditions, Giovannelli was given a medical retirement in 2015 .

        Giovannelli continues to be treated for these conditions .

                12.    While Giovannelli was serving in the military, he was photographed by Army

        photographers while in combat.

                13 .   Recently, Giovannelli discovered that photographs taken of him while m the

        military were being publicly sold, for commercial purposes, through for-profit entities.

                14.    Giovannelli has never given consent to any of the defendants to use his image for

        any purpose, including financial gain.

                                                 COUNT I- Walmart, Inc.

                15 .   Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

        here.

                16.    During 2020 and, upon information and belief, earlier than 2020, WalMart, Inc.,

        at its stores throughout the country and online, without Giovannelli 's consent, sold posters which

        bore an image of Giovannelli in combat.

                17.    WalMart, Inc. profited financially from the sale of Giovannelli 's image.




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          Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 56 of 89 PageID #:62




                 18.    At all relevant times, WalMart, Inc. knew that it lacked consent from Giovannelli

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        to commercially exploit his image. WalMart, Jnc.' s actions were willful and malicious, and
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        punitive damages are appropriate .
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'.2              19.    As a result of WalMart, Inc . 's actions, Giovannelli has suffered extreme
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N       emotional distress .    As a result of WalMart, Inc.' s actions, Giovannelli's PTSD has been
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i,e     exacerbated.
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~                WHEREFORE, plaintiff prays for the following relief from Wal-Mart, Inc.:
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u::              A.     Damages in an amount in excess of One Million Dollars for emotional distress

        and exacerbation of plaintiffs PTSD;

                 B.     That all profits procured through the sale of plaintiffs image be disgorged and

        awarded to plaintiff;

                 C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

                 D.     An award of plaintiff s reasonable attorney' s fees, costs and expenses as

        permitted by 75 ILCS 1075/55.

                 E.     For such other relief as this court deems just.

                                          COUNT II- Wal-Mart.Com USA, LLC

                 20.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

        here.

                 21.    During 2020 and, upon information and belief, earlier than 2020, Wal-Mart.com

        USA, LLC, at its stores throughout the country and online, without Giovannelli ' s consent, sold

        posters which bore an image of Giovannelli in combat.

                 22.    Wal-Mart.com USA, LLC profited financially from the sale of Giovannelli 's

        image.




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        Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 57 of 89 PageID #:63




              23 .   At all relevant times, Wal-Mart.com USA, LLC knew that it lacked consent from

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      Giovannelli to commercially exploit his image. Wal-Mart.com USA, LLC ' s actions were willful
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..J   and malicious, and punitive damages are appropriate .
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              24.    As a result of Wal-Mart.com USA, LLC ' s actions, Giovannelli has suffered

      extreme emotional distress. As a result of Wal-Mart.com USA, LLC's actions, Giovannelli 's
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se    PTSD has been exacerbated.
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~             WHEREFORE, plaintiff prays for the following relief from Wal-Mart.com USA, LLC:
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u:            A.     Damages in an amount in excess of One Million Dollars for emotional distress

      and exacerbation of plaintiffs PTSD;

              B.      That all profits procured through the sale of plaintiffs image be disgorged and

      awarded to plaintiff;

              C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

              D.     An award of plaintiffs reasonable attorney's fees , costs and expenses as

      permitted by 75 ILCS 1075/55.

              E.     For such other relief as this court deems just.

                       COUNT III-     The StockTrek Corporation d/b/a StockTrek Images, Inc.

              25.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

      here.

              26.    StockTrek Images, Inc., during 2020 and, upon information and belief, earlier

      than 2020, without Giovannelli ' s consent, sold posters which bore an image of Giovannelli in

      combat.

              27.    StockTrek Images, Inc. profited financially from the sale of Giovannelli's image.




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 58 of 89 PageID #:64




               28 .   At all relevant times, StockTrek Images, Inc. knew that it lacked consent from

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v      Giovannelli to commercially exploit his image. StockTrek Images, Inc. ' s actions were willful
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       and malicious, and punitive damages are appropriate.
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~              29 .   As a result of StockTrek Images, Inc. ' s actions, Giovannelli has suffered extreme
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       emotional distress. As a result of StockTrek Images, Inc.'s actions, Giovannelli's PTSD has

       been exacerbated.
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               WHEREFORE, plaintiff prays for the following relief from StockTrek Images, Inc.:
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u::            A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

               B.      That all profits procured through the sale of plaintiff s image be disgorged and

       awarded to the plaintiff;

               C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

               D.     An award of plaintiffs reasonable attorney' s fees , costs, and expenses as

       permitted by 75 ILCS 1075/55.

               E.     For such other relief as this court deems just.

                                            COUNT IV- Pixels.Com, LLC

               30.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

               31 .   Pixels.Com, LLC, during 2020 and, upon information and belief, earlier than

       2020, without Giovannelli 's consent, sold posters which bore an image of Giovannelli in combat.

               32.    Pixels.Com, LLC profited financially from the sale of Giovannelli ' s image.




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 59 of 89 PageID #:65




               33 .   At all relevant times, Pixels .Com , LLC knew that it lacked consent from

~      Giovannelli to commercially exploit his image.        Pixel.com, LLC ' s actions were willful and
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       malicious, and punitive damages are appropriate.
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~              34.    As a result of Pixels.Com, LLC 's actions, Giovannelli has suffered extreme
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,...   emotional distress.   As a result of Pixels.Com, LLC's actions , Giovannelli ' s PTSD has been
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       exacerbated.
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~              WHEREFORE, plaintiff prays for the following relief from Pixel's.Com, LLC :
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LJ.J
u::            A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

               B.      That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to the plaintiff;

               C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

               D.     An award of plaintiffs reasonable attorney's fees, costs, and expenses as

       permitted by 75 ILCS I 075/55 .

               E.     For such other relief as this court deems just.

                                             COUNT V- Posterazzi Corp.

               35.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

               36.    Posterazzi Corp., during 2020 and, upon information and belief, earlier than 2020,

       without Giovannelli 's consent, sold posters which bore an image of Giovannelli in combat.

       During this time period, Posterazzi Corp . sold posters which not only bore Giovannelli's image

       but also identified him by name and rank .

               37.    Posterazzi Corp. profited financially from the sale of Giovannelli ' s image.




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 60 of 89 PageID #:66




               38 .   At all relevant times, Posterazzi Corp . knew that it lacked consent from

       Giovannelli to commercially exploit his image.       Posterazzi Corp. 's actions were willful and
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..-    malicious, and punitive damages are appropriate .
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::iE           39.    As a result of Posterazzi Corp. 's actions, Giovannelli has suffered extreme
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..-    emotional distress. As a result of Posterazzi Corp.'s actions, Giovannelli's PTSD has been
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£:!    exacerbated.
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~              WHEREFORE, plaintiff prays for the following relief from Posterazzi Corp .:
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u:             A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

               B.      That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to the plaintiff;

               C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

               D.     An award of plaintiffs reasonable attorney's fees, costs, and expenses as

       permitted by 75 ILCS I 075/55 .

               E.     For such other relief as this court deems just.

                                           COUNT VI- Amazon .Com, Inc.

               40.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

               4 l.   Amazon.Com, Inc. , during 2020 and, upon information and belief, earlier than

       2020, without Giovannelli 's consent, sold posters which bore an image of Giovannelli in combat.

               42 .   Amazon .Com, Inc . profited financially from the sale of Giovannelli 's image.




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                43 .   At all relevant times, Amazon.Com, Inc . knew that it lacked consent from

~      Giovannelli to commercially exploit his image. Amazon .Com, Inc. 's actions were willful and
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...J   malicious, and punitive damages are appropriate .
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                44 .   As a result of Amazon.Com, Inc. ' s actions, Giovannelli has suffered extreme

       emotional distress. As a result of Amazon .Com, Inc. 's actions, Giovannelli ' s PTSD has been

       exacerbated.
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                WHEREFORE, plaintiff prays for the following relief from Amazon .Com, Inc .:
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u::             A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

                B.     That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to the plaintiff;

                C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

                D.     An award of plaintiffs reasonable attorney's fees , costs and expenses as

       permitted by 75 ILCS 1075/55.

                E.     For such other relief as this court deems just.

                                       COUNT VII- Amazon.Com Services LLC

                45 .   Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

       here.

                46 .   Amazon.Com Services, LLC, during 2020 and, upon information and belief,

       earlier than 2020, without Giovannelli's consent, sold posters which bore an image of

       Giovannelli in combat.

                47 .   Amazon.Com Services, LLC profited financially from the sale of Giovannelli's

       image.




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          Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 62 of 89 PageID #:68




                  48 .    At all relevant times, Amazon.Com Services, LLC, knew that it lacked consent

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        from Giovannelli to commercially exploit his image.           Amazon.Com Services, LLC ' s actions
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.-      were willful and malicious, and punitive damages are appropriate .
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                  49.     As a result of Amazon.Com Services, LLC's actions, Giovannelli has suffered

        extreme emotional distress. As a result of Amazon.Com Services, LLC's actions, Giovannelli's

        PTSD has been exacerbated.
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~                 WHEREFORE, plaintiff prays for the following relief from Amazon.Com Services,
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u::     LLC's :

                  A.      Damages in an amount in excess of One Million Dollars for emotional distress

        and exacerbation of plaintiffs PTSD;

                  B.      That all profits procured through the sale of plaintiffs image be disgorged and

        awarded to the plaintiff;

                  C.      An award of punitive damages as permitted by 75 ILCS 1075/40;

                  D.      An award of plaintiffs reasonable attorney's fees , costs and expenses as

        permitted by 75 ILCS 1075/55 .

                  E.      For such other relief as this court deems just.

                                             COUNT VIII- WalMart, Inc.--NIES

                  50.     Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

        here.

                  51.     WalMart, Inc. owed a duty to Giovannelli under Illinois law not to publicize

        and/or sell his image for profit without first procuring his written consent as required by 765

        ILCS I 075/30 .
          Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 63 of 89 PageID #:69




                52.    WalMart, Inc. breached its duty to Giovannelli when it negligently failed to take

~       necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to
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        offering for sale and selling plaintiffs image all across the country .
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:'.2            53 .   WalMart, Inc ' s breach of duty directly and proximately caused plaintiff to suffer
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N       extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiffs PTSD .
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se      As a result of plaintiffs emotional distress, he is under a doctor's care and taking medication.
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~               WHEREFORE, plaintiff prays for judgment in his favor and against defendant WalMart,
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U:      Inc . in an amount in excess of One Million Dollars ($100,000,000 .00), plus costs .

                                     COUNT IX- Wal-Mart.Com USA, LLC--NIES

                54.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

        here.

                55.    Wal-Mart.Com USA, LLC owed a duty to Giovannelli under Illinois law not to

        publicize and/or sell his image for profit without first procuring his written consent as required

        by 765 ILCS I 075/30.

                56.    Wal-Mart.Com USA, LLC breached its duty to Giovannelli when it negligently

        failed to take necessary steps to procure his written consent, as required by 765 ILCS 1075/30,

        prior to offering for sale and selling plaintiffs image all across the country.

                57.    Wal-Mart.Com USA, LLC's breach of duty directly and proximately caused

        plaintiff to suffer extreme emotional distress, including anxiety, flashbacks , and exacerbation of

        plaintiffs PTSD. As a result of plaintiffs emotional distress, he is under a doctor' s care and

        taking medication .




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 64 of 89 PageID #:70




                 WHEREFORE, plaintiff prays for judgment in his favor and against defendant Wal-

1      Mart.Com USA, LLC in an amount in excess of One Million Dollars ($100,000,000.00), plus
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       costs .
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                                       COUNT X- StockTrek Images, Inc.--NIES
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                 58.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth
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u:::   here.

                 59.    StockTrek Images, Inc. owed a duty to Giovannelli under Illinois law not to

       publicize and/or sell his image for profit without first procuring his written consent as required

       by 765 ILCS 1075/30.

                 60 .   StockTrek Images, Inc. breached its duty to Giovannelli when it negligently failed

       to take necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to

       offering for sale and selling plaintiffs image all across the country.

                 61.    StockTrek Images, Inc.'s breach of duty directly and proximately caused plaintiff

       to suffer extreme emotional distress, including anxiety, flashbacks , and exacerbation of

       plaintiffs PTSD. As a result of plaintiffs emotional distress he is under a doctor ' s care and

       taking medication.

                 WHEREFORE, plaintiff prays for judgment in his favor and against defendant StockTrek

       in an amount in excess of One Million Dollars ($1 ,000,000.00), plus costs.

                                         COUNT XI- Pixels.Com, LLC--NIES

                 62.    Plaintiff incorporates by reference paragraphs 1 through l 4 as if fully set forth

       here.




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                63 .     Pixels.Com, LLC owed a duty to Giovannelli under Illinois law not to publicize

~       and/or sell his image for profit without first procuring his written consent as required by 765
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        ILCS 1075/30 .
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                64.      Pixels.Com, LLC breached its duty to Giovannelli when it negligently failed to

        take necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to

        offering for sale and selling plaintiffs image all across the country.
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~               65 .     Pixels.Com, LLC's breach of duty directly and proximately caused plaintiff to
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u::     suffer extreme emotional distress, including anxiety, flashbacks , and exacerbation of plaintiffs

        PTSD. As a result of plaintiffs emotional distress, he is under a doctor's care and taking

        medication .

                WHEREFORE, plaintiff prays for judgment in his favor and against defendant

        Pixels.Com, LLC in an amount in excess of One Million Dollars ($1 ,000,000.00), plus costs.

                                         COUNT XII- Amazon .Com, Inc .--NIES

                66.      Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

        here.

                67.      Amazon.Com, Inc. owed a duty to Giovannelli under Illinois law not to publicize

        and/or sell his image for profit without first procuring his written consent as required by 765

        ILCS 1075/30.

                68.      Amazon.Com, Inc. breached its duty to Giovannelli when it negligently failed to

        take necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to

        offering for sale and selling plaintiffs image all across the country.

                69.      Amazon .Com, Inc. 's breach of duty directly and proximately caused plaintiff to

        suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiffs




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 66 of 89 PageID #:72




      PTSD. As a result of plaintiffs emotional distress, he is under a doctor's care and taking

~     medication .
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              WHEREFORE, plaintiff prays for judgment in his favor and against defendant
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~     Amazon .Com, Inc. in an amount in excess of One Million Dollars ($1 ,000,000.00), plus costs.
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N                                COUNT XIII-Amazon.Com Services, LLC--NIES

              70.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth
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~     here.
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u:            71.    Amazon.Com Services, LLC owed a duty to Giovannelli under Illinois law not to

      publicize and/or sell his image for profit without first procuring his written consent as required

      by 765 ILCS 1075/30.

              72.    Amazon .Com Services, LLC breached its duty to Giovannelli when it negligently

      failed to take necessary steps to procure his written consent, as required by 765 ILCS 1075/30,

      prior to offering for sale and selling plaintiffs image all across the country.

              73 .   Amazon .Com Services, LLC's breach of duty directly and proximately caused

      plaintiff to suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of

      plaintiffs PTSD. As a result of plaintiffs emotional distress, he is under a doctor's care and

      taking medication .

              WHEREFORE, plaintiff prays for judgment in his favor and against defendant

      Amazon .Com Services, LLC in an amount in excess of One Million Dollars ($1 ,000,000.00),

      plus costs.

                                        COUNT XIV-Posterazzi Corp.--NIES

              74.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

      here.




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          Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 67 of 89 PageID #:73




              75.      Posterazzi Crop. owed a duty to Giovannelli under Illinois law not to publicize

~      and/or sell his image for profit without first procuring his written consent as required by 765
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       ILCS 1075/30.
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              76.      Posterazzi Corp. breached its duty to Giovannelli when it negligently failed to

       take necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to

       offering for sale and selling plaintiffs image all across the country.
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              77.      Posterazzi Corp. 's breach of duty directly and proximately caused plaintiff to
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u:     suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiffs

       PTSD. As a result of plaintiffs emotional distress, he is under a doctor' s care and taking

       medication.

              WHEREFORE, plaintiff prays for judgment in his favor and against defendant Posterazzi

       Corp.'s in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                       Plaintiff demands trial by jury on all counts.

                                                                        s/ Craig D . Tobin
                                                                        Craig D . Tobin
                                                                        One of Plaintiff's attorneys

       Craig D . Tobin
       Jessica Firlej
       Attorneys for Plaintiff
       Tobin & Munoz, L.L.C.
       70 W Madison Street, Suite 1950
       Chicago, IL 60602-4298
       Office: (312) 641-1321
       Fax : (312) 641-5220
       Email: ctobin@barristers.com
                jfirlej@barristers.com
       Attorney No.: 47276




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            Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 68 of 89 PageID #:74



                                                                                        FILED
                                                                                        1/6/2021 12:25 PM
                                    IN THE CIRCUIT COURT OF COOK COUNTY                 IRIS Y. MARTINEZ
                                                                                        CIRCUIT CLERK
                                      COUNTY DEPARTMENT, LAW DIVISION
                                                                                        COOK COUNTY, IL
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N
                NICHOLAS GIOVANNELLI,
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                                                  Plaintiff:
                                             V.                              No.:


               WALMART, INC., WAL-MART.COM USA, LLC,
LU
               THE STOCKTREK CORPORATION d/b/a
               STOCKTREK IMAGES, INC. , PIXELS.COM, LLC,
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<i:            AMAZON .COM, INC., AMAZON.COM SERVICES,
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i:i:
               LLC, and POSTERAZZI CORP .
                                                  Defendants.
                                                                        jJURY DEMANDED



                            ILLINOIS SUPREME COURT RULE 222(B) AFFIDAVIT

              The undersigned certifies that the amount of damages sought in the above-captioned case
       does exceed $50,000.00.


                                                                        Respectfully Submitted,

                                                                        CRAIG D TOBIN        ..    n
                                                                        B~ ~ J
                                                                        Craig . . Tobin
                                                                        Jessica 'irlej
                                                                        Tobin & Munoz, L.L.C .
                                                                        70 W Madison, Suite 1950
                                                                        Chicago IL 60602-4298
                                                                        Office: (312) 641-1321
                                                                        Fax : (312) 641-5220
                                                                        ctobin@ barristers.com
                                                                        jfirlej@barristers.com
                                                                        Attorney No. : 47276

       SUBSCRIBED AND SWORN
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       TO BEFORE ME THIS 6
       da y of January 2021

       \),w0r_._ ~ ' - ) ~-
       NOTARY PUBUC

               OFFICIAL SEAL
             PAMELA M JOHNSON
         NOTARY PUBLIC . STATE OF ILLINOIS
          MY COMMISSION EXPIRES:06/03/24
             Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 69 of 89 PageID #:75




C/J
 csc                                                                                                                     null / ALL
                                                                                                     Transmittal Number: 22616283
Notice of Service of Process                                                                            Date Processed: 01/26/2021

Primary Contact:           Ms. Lynn Radliff
                           Amazon.Com, Inc.
                           440 Terry Ave N
                           Seattle, WA 98109-5210

Electronic copy provided to:                   Vivian Ching
                                               Lynn Foley-Jefferson
                                               Joell Parks
                                               Lizette Fernandez
                                               Stephanie Habben
                                               Marcela Viegas
                                               Sara Rawson
                                               Theresa Nixon
                                               Gianmarco Vairo
                                               Eugide Matondo
                                               Michelle King
                                               Rebecca Hartley
                                               Jesse Jensen
                                               Rochelle Lewis
                                               Karen Curtis
                                               Kimberly Thomas
                                               Maria Catana
                                               Stephen Swisher

Entity:                                       Amazon.com Services LLC
                                              Entity ID Number 2102616
Entity Served:                                Amazon.com Services, LLC
Title of Action:                              Nicholas Giovannelli vs. Walmart, Inc.
Matter Name/ID:                               Nicholas Giovannelli vs. Walmart, Inc. (10850451)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Others
Court/Agency:                                 Cook County Circuit Court, IL
Case/Reference No:                            2021L000144
Jurisdiction Served:                          Illinois
Date Served on CSC:                           01/25/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Craig D. Tobin
                                              312-641-1321
Client Requested Information:                 Amazon Case Type: N/A

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
 Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 70 of 89 PageID #:76



                                                                                                     FILED
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                                                                                                     IRIS Y. MARTINEZ
                                                                                                     CIRCUIT CLERK
                                                                                                     COOK COUNTY, IL
                                                                                                     2021L000144

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2120 - Served                    2121 - Served              2620 - Sec. of State
2220 - Not Served                2221 - Not Served          2621 - Alias Sec of State
2320 - Served By Mail            2321 - Served By Mail
2420 - Served By Publication     2421 - Served By Publication
Summons - Alias Sutn1nons                                                (12/01/20) CCG 0001 A


                     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

Name all Parties



 Nicholas Giovannelli
                                       Plaintiff(s)
                        V.
Walmart, Inc., Wal-mart.Com USA, LLC,                  Case No.                 2020 L 000144
The Stocktrek Corporation d/b/aStocktrek Images,
Inc., Pixels.com,Amazon.Com, Inc., Amazon.Com
Serv~,J..LC.,_arui.P..nsterazzi Corp .

. Amazon.Com ·s~i-~~-~.      L;:;~
  c/o Illinois Corporation Service Company
  801 Adlai Stevenson Drive
  Springfield, IL 62703
                        Address of Defendant(st.
                                                        ail   r',jffe   Sheriff Service   () Alias
                                            SUMMONS
To each Defendant:
You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
You are summoned and required to file your appearance, in the office of the clerk of this court,
within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
judgment by default may be entered against you for the relief asked in the complaint.
                   THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
To file your written appearance/ answer YOU DO NOT NEED TO COME TO THE
COURTHOUSE. You will need: a computer with internet access; an email address; a completed
Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
appearance.asp; and a credit card to pay any required fees.




              Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                   cookcountyclerkofcourt.org
                                                Page 1 of 3
                   Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 71 of 89 PageID #:77


        Summons - Alias Summons                                                                         (12/01/20) CCG 0001 B

        E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
        service provider. Visithttp://efile.illinoiscourts.gov/ service-providers.htm to learn more and to select a service
        provider.
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s;-     If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/ fag/ gethelp.asp or talk with
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0       your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
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N       person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
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        If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
        yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
        illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
        Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court hearing
        date AND for information whether your hearing will be held by video conference or by telephone. The Clerk's
Li..i   office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
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        NOTE: Your appearance date is NOT a court date. It is the date that you have to :file your completed
w
_J            appearance by. You may :file your appearance form by e:filing unless you are exempted.
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        A court date will be set in the future and you will be notified by email (either to the email address that you used to
        register for efiling, or that you provided to the clerk's office).
        CONTACT THE CLERK'S OFFICE for information regarding COURT DATES by visiting our website:
        cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
        appropriate clerk's office location listed on Page 3.
        To the officer: (Sheriff Service)
        This summons must be returned by the officer or other person to whom it was given for service, with endorsement
        of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
        endorsed. This summons may not be served later than thirty (30) days after its date.




        <~ Atty. No.: _4_7_2_7_6_ _ __                                 Witness date
        CJ Pro Se 99500                                                        1/8/2021 12:34 PM IRIS Y. MARTINEZ
                   Craig D. Tobin
        Name:
        Atty. for (if applicable):                                               IRIS Y. MARTINEZ, Clerk of Court

         Tobin & Munoz, L.L.C.                                         D Service by Certified Mail:
        Address:    70 W. Madison St., Suite 1950                      □
        City:   Chicago

        State: IL      Zip:    60602

        Telephone: (312) 641-1321

        Primary Email:        ctobin@barristers.com

                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                     cookcountyclerkofcourt.org
                                                                 Page 2 of 3
               Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 72 of 89 PageID #:78



                              GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

       CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
       appropriate division, district or department to request your next court date. Email your case number, or, if you do
1      not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's name
8      and birthdate for a criminal case.
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~                  CHANCERY DIVISION                                         ALL SUBURBAN CASE TYPES
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       Court date EMAIL: ChanCourtDate@cookcountycourt.com                       DISTRICT 2 - SKOKIE
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       Gen. Info: (312) 603-5133                                    Court date EMAIL: D2CourtDare@cookcountycourt.com
                       CIVIL DIVISION                               Gen. Info: (847) 470-7250
       Court date EMAIL: CivCourtDate@cookcountycourt.com                 DISTRICT 3 - ROLLING MEADOWS
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       Gen. Info: (312) 603-5116                                    Court date EMAIL: D3CourtDatc@cookcountycourt.com
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       Court date EMAIL: CmyCourtDate@cookcountycourc.com                       DISTRICT 4 - MAYWOOD
       Gen. Info: (312) 603-571 0                                   Court date EMAIL: D4CourtDate@cookcountycourt.com
        DOMESTIC RELATIONS/CHILD SUPPORT                            Gen. Info: (708) 865-6040
                         DIVISION                                             DISTRICT 5 - BRIDGEVIEW
       Court date EMAIL: DRCourtDate@cookcountycourt.com            Court date EMAIL: DSCourtDate@cookcountycourt.com
                         OR
                         ChildSupCourtDatc@cookcountycourt.com
                                                                    Gen. Info: (708) 974-6500
       Gen. Info:   (312) 603-6300                                             DISTRICT 6 - MARKHAM

                   DOMESTIC VIOLENCE                                Court date EMAIL: D6CourrDare@cookcountycourt.com
       Court date EMAIL: DVCourtDate@cookcountycourt.com            Gen. Info: (708) 232-4551
       Gen. Info: (312) 325-9500

                        LAW DIVISION
       Court date EMAIL: LawCourtDate@cookcountycourr.com
       Gen. Info: (312) 603-5426

                    PROBATE DIVISION
       Court date EMAIL: ProbCourtDate@cookcountycourt.com
       Gen. Info: (312) 603-6441




                            Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                 cookcountyclerkofcourt.org
                                                             Page 3 of 3
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                                       12-Person Jury


                                                                                           FILED
                                                                                           1/6/2021 12:25 PM
                               IN THE CIRCUIT COURT OF COOK COUNTY                         IRIS Y. MARTINEZ
                                 COUNTY DEPARTMENT, LAW DIVISION                           CIRCUIT CLERK
                                                                                           COOK COUNTY, IL
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'St                                                                                        2021L000144
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~              NICHOLAS GlOV ANNELLI,
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                                             Plaintiff,
                                      V.                                       No.:

               WALMART, INC., WAL-MART.COM USA, LLC,
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               THE STOCKTREK CORPORATION d/b/a
               STOCKTREK IMAGES, INC., PIXELS.COM, LLC,
                                                                           I
~              AMAZON.COM, INC., AMAZON.COM SERVICES,
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U:
               LLC, and POSTERAZZI CORP.
                                             Defendants.
                                                                           jillR Y DEMANDED


                                            COMPLAINT AT LAW

               Now comes the plaintiff, Nicholas Giovannelli, by and through his attorneys, Craig D.

        Tobin of Tobin & Munoz LLC, and as and for his complaint against defendants Walmart, Inc.,

        Wal-Mart.Com USA, LLC, The Stocktrek Corporation d/b/a StockTrek Images, Inc.,

        Pixels.Com, LLC, Amazon.Com, Inc., Amazon.Com Services, LLC, and Posterazzi Corp. states

        as follows:

               1.     This action is brought under the Illinois Right of Publicity Act, 765 ILCS 1075/1

        et seq. (1999), and the common law action for Negligent Infliction of Emotional Distress.

                                                    PARTIES

               2.      At all relevant times hereto, the plaintiff, Nicholas Giovannelli, was and is a

        citizen of Cook County, Illinois. Giovannelli is a decorated combat veteran, having served in the

        Airborne Infantry of the U.S Army, beginning in 2007, including multiple tours of duty in

        Afghanistan. He was honorably discharged for medical reasons in 2015.
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              3.      WalMart, Inc., at all relevant times hereto, is a Delaware corporation present and

       doing business in Cook County, Illinois.    WalMart, Inc. is in the business of selling general

       merchandise through their stores, including photographic images.

              4.      Wal-Mart.com USA, LLC, at all relevant times hereto, is a California limited

       liability company present and doing business in Cook County, Illinois. Wal-Ma1i.com USA,

       LLC is in the business of selling general merchandise through the internet, including
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!;;:   photographic images.
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u::           5.      The StockTrek Corporation d/b/a StockTrek Images, Inc., at all relevant times

       hereto, is a Delaware corporation present and doing business in Cook County, Illinois.

       StockTrek is in the business of selling photographic images, primarily through the internet.

              6.      Pixels.com, LLC, at all relevant times hereto, is an Illinois limited liability

       company, present and doing business in Cook County, Illinois. Pixels.com is in the business of

       selling photographic images, primarily through the internet.

              7.      Amazon.Com, Inc., at all relevant times hereto, is a Delaware corporation present

       and doing business in Cook County, Illinois. Amazon.com, Inc. is in the business of selling

       general merchandise through the internet, including photographic images.

              8.      Amazon.Com Services, LLC, at all relevant times hereto, is a Delaware limited

       liability company, present and doing business in Cook County, Illinois. Amazon.Com Services,

       LLC is in the business of selling general merchandise through the internet, including

       photographic images.

              9.      Posterazzi Corp., at all relevant times hereto, is a New York corporation, present

       and doing business in Cook County, Illinois.        Posterazzi Corp. is in the business of selling

       photographic images, primarily through the internet.




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                                    FACTS COMMON TO ALL COUNTS

               10.    During his service in the Airborne Infantry, Giovannelli participated in over 100

       combat patrols. As a result of his service, Giovannelli was awarded the Purple Heart, Combat

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       Infantry Badge, and Army Commendation with V Device, for acts of heroism while involved in
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~      conflict with an armed enemy.
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~              11.    As a result of his service, Giovannelli developed certain medical issues: herniated
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~      disks in his lower back and neck, post-concussion headaches as a result of traumatic brain injury,
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LL     and PTSD. As a result of these conditions, Giovannelli was given a medical retirement in .2015.

       Giovannelli continues to be treated for these conditions.

               12.    While Giovannelli was serving in the military, he was photographed by Army

       photographers while in combat.

               13.    Recently, Giovannelli discovered that photographs taken of him while m the

       military were being publicly sold, for commercial purposes, through for-profit entities.

               14.    Giovannelli has never given consent to any of the defendants to use his image for

       any purpose, including financial gain.

                                                COUNT 1-Walmart, Inc.

               15.    Plaintiff incorporates by reference paragraphs I through I 4 as if fully set fo1th

       here.

               I 6.   During 2020 and, upon information and belief, earlier than 2020, WalMart, Inc.,

       at its stores throughout the country and online, without Giovannelli's consent, sold posters which

       bore an image of Giovannelli in combat.

               17.    WalMait, Inc. profited financially from the sale of Giovannelli's image.




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                18.    At all relevant times, WalMart, Inc. knew that it lacked consent from Giovannelli

::i:   to commercially exploit his image. WalMart, Inc.'s actions were willful and malicious, and
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       punitive damages are appropriate .
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                19.    As a result of WalMart, Inc.'s actions, Giovannelli has suffered extreme

       emotional distress.         As a result of WalMart, Inc.'s actions, Giovannelli's PTSD has been

       exacerbated.
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~               WHEREFORE, plaintiff prays for the following relief from Wal-Mart, Inc.:
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u:::            A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

                B.     That all profits procured through the sale of plaintiffs image be disgorged and

       awarded to plaintiff;

                C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

                D.     An award of plaintiffs reasonable attorney's fees, costs and expenses as

       permitted by 75 ILCS 1075/55.

                E.     For such other relief as this court deems just.

                                            COUNT II-Wal-Mart.Com USA, LLC

                20.    Plaintiff incorporates by reference paragraphs 1 through I 4 as if fully set forth

       here.

                21.    During 2020 and, upon information and belief, earlier than 2020, Wal-Mart.com

       USA, LLC, at its stores throughout the country and online, without Giovannelli's consent, sold

       posters which bore an image of Giovannelli in combat.

                22.   Wal-Mart.com USA, LLC profited financially from the sale of Giovannelli's

       image.


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          Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 77 of 89 PageID #:83




                 23.   At all relevant times, Wal-Mart.com USA, LLC knew that it lacked consent from

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        Giovannelli to commercially exploit his image. Wal-Mart.com USA, LLC's actions were willful
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        and malicious, and punitive damages are appropriate .
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            ,,   24.   As a result of Wal-Mart.com USA, LLC's actions, Giovannelli has suffered

        extreme emotional distress. As a result of Wal-Mart.com USA, LLC's actions, Giovannelli's

        PTSD has been exacerbated.
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~                WHEREFORE, plaintiff prays for the following relief from Wal-Mart.com USA, LLC:
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u:::             A.    Damages in an amount in excess of One Million Dollars for emotional distress

        and exacerbation of plaintiffs PTSD;

                 B.     That all profits procured through the sale of plaintiffs image be disgorged and

        awarded to plaintiff;

                 C.    An award of punitive damages as permitted by 75 ILCS 1075/40;

                 D.    An award of plaintiffs reasonable attorney's fees, costs and expenses as

        permitted by 75 ILCS l 075/55.

                 E.    For such other relief as this court deems just.

                         COUNT III-The StockTrek Corporation d/b/a StockTrek Images, Inc.

                 25.   Plaintiff incorporates by reference paragraphs 1 through l 4 as if fully set fo1th

        here.

                 26.   StockTrek Images, Inc., during 2020 and, upon information and belief, earlier

        than 2020, without Giovannelli's consent, sold posters which bore an image of Giovannelli in

        combat.

                 27.   StockTrek Images, Inc. profited financially from the sale of Giovannell i's image.




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              28.    At all relevant times, StockTrek Images, Inc. knew that it lacked consent from

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      Giovannelli to commercially exploit his image. StockTrek Images, Inc.'s actions were willful
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      and malicious, and punitive damages are appropriate.
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              29.    As a result of StockTrek Images, Inc.'s actions, Giovannelli has suffered extreme

      emotional distress. As a result of StockTrek Images, Inc.'s actions, Giovannelli's PTSD has

      been exacerbated.
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~             WHEREFORE, plaintiff prays for the following relief from StockTrek Images, Inc.:
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LL            A.     Damages in an amount in excess of One Million Dollars for emotional distress

      and exacerbation of plaintiffs PTSD;

              B.      That all profits procured through the sale of plaintiffs image be disgorged and

      awarded to the plaintiff;

              C.     An award of punitive damages as permitted by 75 ILCS I 075/40;

              D.     An award of plaintiffs reasonable attorney's fees, costs, and expenses as

      permitted by 75 ILCS 1075/55.

              E.     For such other relief as this court deems just.

                                           COUNT IV-Pixels.Com, LLC

              30.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

      here.

              31.    Pixels.Com, LLC, during 2020 and, upon information and belief, earlier than

      2020, without Giovannelli's consent, sold posters which bore an image of Giovannelli in combat.

              32.    Pixels.Com, LLC profited financially from the sale of Giovannelli's image.




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               33.    At all relevant times, Pixels.Com, LLC knew that it lacked consent from

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       Giovannelli to commercially exploit his image.        Pixel.com, LLC's actions were willful and
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       malicious, and punitive damages are appropriate .
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~              34.    As a result of Pixels.Com, LLC's actions, Giovannelli has suffered extreme
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       emotional distress. As a result of Pixels.Com, LLC's actions, Giovannelli's PTSD has been

       exacerbated.
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~              WHEREFORE, plaintiff prays for the following relief from Pixel's.Com, LLC:
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LL             A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiff's PTSD;

               B.      That all profits procured through the sale of plaintiff's image be disgorged and

       awarded to the plaintiff;

               C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

               D.     An award of plaintiff's reasonable attorney's fees, costs, and expenses as

       permitted by 75 ILCS 1075/55.

               E.     For such other relief as this court deems just.

                                             COUNT V-Posterazzi Corp.

               35.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

               36.    Posterazzi Corp., during 2020 and, upon information and belief, earlier than 2020,

       without Giovannelli's consent, sold posters which bore an image of Giovannelli in combat.

       During this time period, Posterazzi Corp. sold posters which not only bore Giovannelli's image

       but also identified him by name and rank.

               3 7.   Posterazzi Corp. profited financially from the sale of Giovannell i's image.




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               38.    At all relevant times, Posterazzi Corp. knew that it lacked consent from

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       Giovannelli to commercially exploit his image.       Posterazzi Corp.'s actions were willful and
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       malicious, and punitive damages are appropriate.
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               39.    As a result of Posterazzi Corp.'s actions, Giovannelli has suffered extreme

       emotional distress.   As a result of Posterazzi Corp.'s actions, Giovannelli's PTSD has been

       exacerbated.
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~              WHEREFORE, plaintiff prays for the following relief from Posterazzi Corp.:
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u:::           A.     Damages in an amount in excess of One Million Dollars for emotional distress

       and exacerbation of plaintiffs PTSD;

               B.      That all profits procured through the sale of plaintiff's image be disgorged and

       awarded to the plaintiff;

               C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

               D.     An award of plaintiff's reasonable attorney's fees, costs, and expenses as

       permitted by 75 ILCS 1075/55.

               E.     For such other relief as this court deems just.

                                            COUNT VI-Amazon.Com, Inc.

               40.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

       here.

               41.    Amazon.Com, Inc., during 2020 and, upon information and belief, earlier than

       2020, without Giovannelli's consent, sold posters which bore an image of Giovannelli in combat.

               42.    Amazon.Com, Inc. profited financially from the sale of Giovannelli' s image.




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                  43.   At all relevant times, Amazon.Com, Inc. knew that it lacked consent from

~        Giovannelli to commercially exploit his image. Amazon.Com, Inc.'s actions were willful and
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         malicious, and punitive damages are appropriate.
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'.:2:             44.   As a result of Amazon.Com, Inc.' s actions, Giovannell i has suffered extreme
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         emotional distress. As a result of Amazon.Com, Inc.'s actions, Giovannelli's PTSD has been

         exacerbated.
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!:i0 :            WHEREFORE, plaintiff prays for the following relief from Amazon.Com, Inc.:
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u:::              A.    Damages in an amount in excess of One Million Dollars for emotional distress

         and exacerbation of plaintiffs PTSD;

                  B.     That all profits procured through the sale of plaintiffs image be disgorged and

         awarded to the plaintiff;

                  C.    An award of punitive damages as permitted by 75 ILCS 1075/40;

                  D.    An award of plaintiffs reasonable attorney's fees, costs and expenses as

         permitted by 75 ILCS 1075/55.

                  E.    For such other relief as this cou1t deems just.

                                        COUNT VII-Amazon.Com Services, LLC

                  45.   Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

         here.

                  46.   Amazon.Com Services, LLC, during 2020 and, upon information and belief,

         earlier than 2020, without Giovannelli's consent, sold posters which bore an image of

         Giovannelli in combat.

                  47.   Amazon.Com Services, LLC profited financially from the sale of Giovannelli's

         image.




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               48.    At all relevant times, Amazon.Com Services, LLC, knew that it lacked consent

~     from Giovannelli to commercially exploit his image. Amazon.Com Services, LLC's actions
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      were willful and malicious, and punitive damages are appropriate.
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               49.    As a result of Amazon.Com Services, LLC's actions, Giovannelli has suffered

      extreme emotional distress. As a result of Amazon.Com Services, LLC's actions, Giovannelli's

      PTSD has been exacerbated.
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~              WHEREFORE, plaintiff prays for the following relief from Amazon.Com Services,
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u::   LLC's:

               A.     Damages in an amount in excess of One Million Dollars for emotional distress

      and exacerbation of plaintiffs PTSD;

               B.     That all profits procured through the sale of plaintiffs image be disgorged and

      awarded to the plaintiff;

               C.     An award of punitive damages as permitted by 75 ILCS 1075/40;

               D.     An award of plaintiffs reasonable attorney's fees, costs and expenses as

      permitted by 75 ILCS 1075/55.

               E.     For such other relief as this court deems just.

                                         COUNT VIII-Wa!Mart, Inc.--NIES

               50.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

      here.

               51.    WalMart, Inc. owed a duty to Giovannelli under Illinois law not to publicize

      and/or sell his image for profit without first procuring his written consent as required by 765

      ILCS 1075/30.




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             52.     Wa)Mart, Inc. breached its duty to Giovannelli when it negligently failed to take

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     necessary steps to procure his written consent, as required by 765 ILCS I 075/30, prior to
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     offering for sale and selling plaintiffs image all across the country.
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             53.     WalMart, Inc's breach of duty directly and proximately caused plaintiff to suffer

     extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiff's PTSD.

     As a result of plaintiffs emotional distress, he is under a doctor's care and taking medication.
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~            WHEREFORE, plaintiff prays for judgment in his favor and against defendant WalMart,
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u:   Inc. in an amount in excess of One Million Dollars ($100,000,000.00), plus costs.

                                   COUNT IX-Wal-Mait.Com USA, LLC--NIES

             54.     Plaintiff incorporates by reference paragraphs I through 14 as if fully set fo1th

     here.

             55.     Wal-Mart.Com USA, LLC owed a duty to Giovannelli under Illinois law not to

     publicize and/or sell his image for profit without first procuring his written consent as required

     by 765 ILCS I 075/30.

             56.     Wal-Mart.Com USA, LLC breached its duty to Giovannelli when it negligently

     failed to take necessary steps to procure his written consent, as required by 765 ILCS l 075/30,

     prior to offering for sale and selling plaintiff's image all across the country.

             57.     Wal-Mart.Com USA, LLC's breach of duty directly and proximately caused

     plaintiff to suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of

     plaintiffs PTSD. As a result of plaintiff's emotional distress, he is under a doctor's care and

     taking medication.




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         Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 84 of 89 PageID #:90




                WHEREFORE, plaintiff prays for judgment in his favor and against defendant Wal-.

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       Mart.Com USA, LLC in an amount in excess of One Million Dollars ($100,000,000.00), plus
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       costs.
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                                       COUNT X-StockTrek Images, Inc.--NIES
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                58.   Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth
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u:::   here.

                59.    StockTrek Images, Inc. owed a duty to Giovannelli under Illinois law not to

       publicize and/or sell his image for profit without first procuring his written consent as required

       by 765 ILCS 1075/30.

                60.    StockTrek Images, Inc. breached its duty to Giovannelli when it negligently failed

       to take necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to

       offering for sale and selling plaintiffs image all across the country.

                61.   StockTrek Images, Inc.'s breach of duty directly and proximately caused plaintiff

       to suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of

       plaintiffs PTSD. As a result of plaintiffs emotional distress he is under a doctor's care and

       taking medication.

                WHEREFORE, plaintiff prays for judgment in his favor and against defendant StockTrek

       in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                                         COUNT XI-Pixels.Com, LLC--NIES

                62.   Plaintiff incorporates by reference paragraphs I through 14 as if fully set forth

       here.




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               63.     Pixels.Com, LLC owed a duty to Giovannelli under Illinois law not to publicize

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       and/or sell his image for profit without first procuring his written consent as required by 765
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       ILCS 1075/30.
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               64.     Pixels.Com, LLC breached its duty to Giovannelli when it negligently failed to

       take necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to

       offering for sale and selling plaintiffs image all across the country.
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~              65.     Pixels.Com, LLC's breach of duty directly and proximately caused plaintiff to
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u:::   suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiffs

       PTSD.    As a result of plaintiffs emotional distress, he is under a doctor's care and taking

       medication.

               WHEREFORE, plaintiff prays for judgment in his favor and against defendant

       Pixels.Com, LLC in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                                        COUNT XII-Amazon.Com, Inc.--NIES

               66.     Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set f01th

       here.

               67.     Amazon.Com, Inc. owed a duty to Giovannelli under Illinois law not to publicize

       and/or sell his image for profit without first procuring his written consent as required by 765

       ILCS 1075/30.

               68.     Amazon.Com, Inc. breached its duty to Giovannelli when it negligently failed to

       take necessary steps to procure his written consent, as required by 765 ILCS I 075/30, prior to

       offering for sale and selling plaintiffs image all across the country.

               69.     Amazon.Com, Inc.'s breach of duty directly and proximately caused plaintiff to

       suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiffs




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     PTSD.    As a result of plaintiffs emotional distress, he 1s under a doctor's care and taking

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     medication.
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             WHEREFORE, plaintiff prays for judgment in his favor and against defendant
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     Amazon.Com, Inc. in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                                COUNT XIII-Amazon.Com Services, LLC--NIES

             70.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth
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     here.
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LL           71.    Amazon.Com Services, LLC owed a duty to Giovannelli under Illinois law not to

     publicize and/or sell his image for profit without first procuring his written consent as required

     by 765 ILCS 1075/30.

             72.    Amazon.Com Services, LLC breached its duty to Giovannelli when it negligently

     failed to take necessary steps to procure his written consent, as required by 765 ILCS 1075/30,

     prior to offering for sale and selling plaintiffs image all across the country.

             73.    Amazon.Com Services, LLC's breach of duty directly and proximately caused

     plaintiff to suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of

     plaintiffs PTSD. As a result of plaintiffs emotional distress, he is under a doctor's care and

     taking medication.

             WHEREFORE, plaintiff prays for judgment in his favor and against defendant

     Amazon.Com Services, LLC in an amount in excess of One Million Dollars ($1,000,000.00),

     plus costs.

                                       COUNT XIV-Posterazzi Corp.--NIES

             74.    Plaintiff incorporates by reference paragraphs 1 through 14 as if fully set forth

     here.




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               75.     Posterazzi Crop. owed a duty to Giovannelli under Illinois law not to publicize

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       and/or sell his image for profit without first procuring his written consent as required by 765
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       ILCS 1075/30.
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               76.     Posterazzi Corp. breached its duty to Giovannelli when it negligently failed to

       take necessary steps to procure his written consent, as required by 765 ILCS 1075/30, prior to

       offering for sale and selling plaintiffs image all across the country.
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               77.     Posterazzi Corp.'s breach of duty directly and proximately caused plaintiff to
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u::    suffer extreme emotional distress, including anxiety, flashbacks, and exacerbation of plaintiffs

       PTSD.    As a result of plaintiffs emotional distress, he is under a doctor's care and taking

       medication.

               WHEREFORE, plaintiff prays for judgment in his favor and against defendant Posterazzi

       Corp.'s in an amount in excess of One Million Dollars ($1,000,000.00), plus costs.

                       Plaintiff demands trial by jury on all counts.

                                                                        s/ Craig D. Tobin
                                                                        Craig D. Tobin
                                                                        One of Plaintiffs attorneys

       Craig D. Tobin
       Jessica Firlej
       Attorneys for Plaintiff
       Tobin & Munoz, L.L.C.
       70 W Madison Street, Suite 1950
       Chicago, IL 60602-4298
       Office: (312) 641-1321
       Fax: (312) 641-5220
       Email: ctobin@barristers.com
                jfirlej@barristers.com
       Attorney No.: 47276




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           , 1910., No Fee Paid
             1919 - Fee Paid
             Jury Demand                                                                          (Rev. 12/01/20) CCG 0067

                                    IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                   ___C_o_u_n~ty_ _ _ _ DEPARTMENT/_ _1 s_t_ _ DISTRICT
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                                           v.
           Walmart, Inc., Wal-mart.Com USA, LLC,                                N0
           The Stocktrek Corporation d/b/a Stocktrek Images,                         • --------------
           Inc., Pixels.com, LLC,Amazon.Com, Inc., Amazon.Com
w          Services, LLC, and Posterazzi Corp.
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                                                          JURYDEMAND
u:::        The undersigned demands a jury trial.




                                                                                           Craig D. Tobin
                                                                                             (Signature)




            □ Atty. No.: _4_7_2_7_6_ _ __
            Name:        Craig D. Tobin
            Atty. for:    Tobin & Mufioz, L.L.C.
            Address: 70 West Madison St., Suite 1950
            City/State/Zip: Chicago, IL 60602
            Telephone: (312) 641-1321                                  Dated:   January 6, 2021
            Primary Email: ctobin@barristers.com




                         IRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                Page 1 of 1
          Case: 1:22-cv-02160 Document #: 1-1 Filed: 04/26/22 Page 89 of 89 PageID #:95



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                                  IN THE CIRCUIT COURT OF COOK COUNTY                    IRIS Y. MARTINEZ
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               NICHOLAS GIOV ANNELLI,
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2                                              Plaintiff,
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LI)
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                                          V.                                 No.:
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se             WALMART, INC., WAL-MART.COM USA, LLC,
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w
               THE STOCKTREK CORPORATION d/b/a
               STOCKTREK IMAGES, INC., PIXELS.COM, LLC,
                                                                         I
~              AMAZON.COM, INC., AMAZON.COM SERVICES,

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               LLC, and POSTERAZZI CORP.
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LL
                                                                          JURY DEMANDED
                                               Defendants.


                          ILLINOIS SUPREME COURT RULE 222(B) AFFIDAVIT

              The undersigned cei-tifies that the amount of damages sought in the above-captioned case
       does exceed $50,000.00.


                                                                        Respectfully Submitted,



                                                                        :g:dJ
                                                                        Craig . Tobin
                                                                        Jessica ;irlej
                                                                        Tobin & Munoz, L.L.C.
                                                                        70 W Madison, Suite 1950
                                                                        Chicago IL 60602-4298
                                                                        Office: (312) 641-1321
                                                                        Fax: (312) 641-5220
                                                                        ctobi n@banistcrs.com
                                                                        jfirl ej@baITisters.com
                                                                        Attorney No.: 47276

       SUBSCRIBED AND SWORN
                           th
       TO BEFORE ME THIS 6
       day of January 2021

       )4~c._            yJ\__ ~ ) ~ -
       NOTARY PUBLIC

              OFFICIAL SEAL
            PAMELA M JOHNSON
        NOTARY PUBLIC. STATE OF ILUNOIS
         MY COMMISSION EXPIRES:06/03124
